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3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)
Groundwater LTM and MNA

Groundwater is sampled through the BGMP. At Parcel B-1, groundwater monitoring was
initiated in 2004 and currently consists of sampling six groundwater monitoring wells screened in
the A-aquifer for VOCs and metals, as well as MNA parameters to evaluate and track natural
attenuation processes. The BGMP is routinely optimized based on monitoring data. The
sampling protocol was amended so that monitoring well IR2Z0MW17A, which was only sampled
for vinyl chloride (VC), was revised to include 1,2-dichloroethene and TCE for consistency in
monitoring the VOC plume at IR-10 (TRBW, 2020a). Annual and semiannual groundwater
monitoring reports from 2019 through 2021 were also reviewed (TRBW, 2020b; 2020c, 2022a,
2022b, 2023). Appendix E presents exceedances of RGs (identified as project action limits
[PALs]) from 2019, 2020, 2021, and 2022.

One VOC (VC) exceeded its RG in multiple wells for all sampling events from 2019 to 2022.
One additional VOC (TCE) exceeded its RG in one well during the March 2021 sampling event
but did not exceed before or after that event. Exceedances of RGs from the 2022 BGMP
sampling are shown on Figure 3-5. Concentrations of TCE and VC were within historical ranges
for all monitoring wells in Parcel B-1 (TRBW, 2023).

Radiological Surveys and Remediation

ROCs suspected to be present at Parcel B include cobalt-60 (Co-60), strontium-90 (Sr-90),
cesium-137 (Cs-137), radium-226 (Ra-226), and plutonium-239 (Pu-239). The Navy conducted
TCRAs at Parcel B (both Parcels B-1 and B-2) to address potential radioactive contamination in
storm drains and sanitary sewer lines and radiologically impacted structures. In total, 65,184
cubic yards of soil was excavated during removal of 24,826 linear feet of sanitary sewer and
storm drain lines. Approximately 6,641 cubic yards of soil was disposed of offsite as LLRW
based on surface scan and analytical laboratory results. Additionally, final status surveys (FSSs)
were performed at four radiologically impacted buildings (103, 113, 113A, and 146) and three
former building sites (114, 142, and 157) (TtEC, 2012).

TCRA data were reviewed as described in Section 1.4.3, and radiological retesting, including
sampling and surveys of soils previously investigated during sanitary sewer line storm drain
removal and resurvey of impacted buildings and former building sites, is currently being
conducted to determine if current site conditions are compliant with the RAOs.

Institutional Controls

The land use and activity restrictions are described in the LUC RD Report (ChaduxTt, 201 1a).
As described in the Amended ROD (Navy, 2009), the entire area of Parcel B-1 is subject to ICs.
A portion of Parcel B-1 is also subject to ICs related to VOC vapors (Figure 3-2). The ARICs
related to VOC vapors will be redefined after the IR-10 RA is complete and documented in the
RAWP (Insight-ESI, 2023). Table 1-3 summarizes the IC performance objectives to be
implemented through land use restrictions for the site.

3.4.2.2 Remedy Operations and Maintenance

Ongoing O&M at Parcel B-1 includes maintaining the integrity of the soil cover, revetment, and
asphalt cover, and IC inspections. The inspection and maintenance requirements for the remedy
are described in the Final O&M Plan (ERRG, 2016). AOMSRs are prepared to summarize
inspections and maintenance performed and to document the effectiveness of the remedy
components. AOMSRs from 2019, 2020, 2021, and 2022 were reviewed (Innovex-ERRG Joint
Venture, 2020, 2021a; APTIM, 2022, 2023).

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Durable Cover Maintenance

The shoreline revetment was determined to be in good condition. No signs of vegetation or
trash, pests, excessive vehicle traffic, settlement or movement, improper placement of fabric,
vandalism or theft, cover soil overtopping, wave overtopping, or scouring were observed. The
Navy is currently conducting a shoreline assessment study to identify and recommend repairs
and/or stabilization of structures and shoreline.

Annual inspections found the soil cover to be in good condition, with no signs of settling, slope
failure, cracking, soil movement, or erosion. Minor evidence of burrowing animals was noted in
one area of Parcel B-1 in 2021; however, no corrective actions were recommended. Drainage
swales within the soil cover were also found to be in good condition. Vegetation growth was well
established over the soil cover, with no bare areas observed. Vegetation on the soil cover was
mowed in August 2019 and August 2020. No signs of excessive vehicle traffic on the cover
were observed.

The asphalt cover was generally found to be in good condition, except for minor sinkholes on
the northern side of Parcel B-1 near the former dry dock observed during the September 2021
inspection, which were repaired. Vegetation observed growing through cracks in the asphalt
pavement cover was removed in October 2020 and December 2021.

Building foundations were found to be in good condition, with no new or expanding cracking.
Generally, swales and check dams were clean and intact; however, minor coating of sediment
was noted and removed in the drainage swale northwest of Building 146. Signs of excessive
vehicle traffic (such as minor cracking in the asphalt surface) within the drainage swale
southwest of Building 123 prompted the construction of a vehicle crossing using rock and steel
plates in March 2018. The vehicle crossing was observed to be intact and in good condition.
However, access to Parcel B-1 should continue to be restricted to limit degradation to the swale
and associated asphalt cover.

The 2019 survey data for the settlement monuments indicated Monument SM-1 in Parcel B-1
showed negligible change in elevation (that is, less than 0.1 foot of settlement) since surveyed
in 2018. Based on the negligible change (less than 0.1 foot) in historical survey monument
elevations, the next round of settlement monument surveys will be in 2024.

Institutional Controls Compliance

ICs are inspected annually, and no deficiencies or inconsistent uses were observed during the
review. General site conditions were determined to be good. Remedy components, such as
survey benchmarks and monitoring well vault covers, were found to be in good conditions.

Navy controls access to the parcel using security fencing, signage, locks, and gates, which were
found to be in good condition, with no signs of damage or vandalism.

3.4.3 Parcel B-2
The RA for Parcel B-2 includes the following major components:
Soil excavation and removal to address COCs in soil

Durable cover installation and maintenance to address COCs in soil

ISS of mercury in groundwater at IR-26
LTM and MNA of groundwater for COCs

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e Radiological surveys and remediation through soil excavation and sampling during sanitary
sewer line storm drain removal and through decontamination (and demolition/dismantling if
necessary) buildings, structures, and former building sites

e ICs for soil, groundwater, and VOC vapors
Figures 3-1, 3-2, and 3-6 show the locations of major remedy components.

3.4.3.1 Remedy Implementation
Soil Excavation and Removal

Excavation and removal of soil containing COCs at concentrations greater than RGs were
conducted from 2010 to 2011. In total, approximately 118 loose cubic yards of soil was
excavated from two hotspot areas in Parcel B-2 to address lead and PAHs in soil and was
disposed of offsite. Excavations were backfilled with clean imported soil. The RACR for Soil
Hotspot Locations at Parcel B, D-1, and G (ERRG, 2011) documents completion of excavation
activities and response complete.

Durable Cover Installation

Construction of the durable covers at Parcel B-2 began in 2012 and was completed in 2015.
Completion of the durable covers along with ICs discussed in Section 1.3.4.2 meets the RAOs
for soil at Parcel B-2. Response complete is documented in the RACR for the Durable Covers
Remedy in Parcel B-2 (Innovex-ERRG Joint Venture, 2018a). Durable covers consist of
shoreline revetment, asphalt cover, and building foundations at Parcel B-2 shown on Figure 3-6
and described as follows:

e Shoreline Revetment: Shoreline revetment was constructed along approximately
1,800 linear feet of shoreline at IR-23 and IR-26 (Innovex-ERRG Joint Venture, 2018a). An
unforeseen discovery of TPH contamination along a 230-foot section of the IR-26 shoreline
(in Parcel B-2) delayed completion of the revetment to allow for the TPH contamination to be
delineated and removed. The shoreline revetment includes, from the bottom up, filter fabric,
6 to 12 inches of filter rock, and 2.5 to 3 feet of riprap. The filter fabric is designed to prevent
migration of soil and sediment to San Francisco Bay; the filter rock and riprap layers protect
the fabric from damage by wave action.

e Asphalt Cover: An asphalt concrete cover was constructed over the remaining upland areas
of Parcel B-2 (Innovex-ERRG Joint Venture, 2018a). The asphalt cover consists of 4 inches
of aggregate base course overlain by 2 inches of asphaltic concrete. Drainage features, such
as swales, diversion berms, catch basins, and storm drain pipes, were incorporated into the
asphalt cover to convey stormwater offsite.

e Building Foundations: Cracks and penetrations in building foundations were repaired using
a variety of materials, such as concrete, non-shrink grout, and asphaltic concrete, to prevent
access to underlying soil (Innovex-ERRG Joint Venture, 2018a). Additionally, access to soil
under buildings (for example, crawl spaces) was blocked with durable wire mesh.

In Situ Stabilization of Mercury in Groundwater at IR-26

During the Third Five-Year Review for HPNS, the Navy identified that concentrations of mercury
in groundwater at IR-26 Parcel B-2 continue to exceed the TL of 0.6 g/L and recommended
evaluation of the mass flux of mercury to San Francisco Bay to estimate potentially discharging
mercury concentrations (Navy, 2013). An investigation to further evaluate the lateral and vertical
extent of mercury in groundwater was conducted. The evaluation also included modeling, which

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indicated that at the concentrations reported during sampling and based on site-specific
hydrogeologic inputs, there is a potential that the discharge exceeds ambient levels (TriEco-Tt,
2016). As a result, ISS using an organo-sulfur compound injected into groundwater was
completed in December 2017. The goal of the remedy was to reduce concentrations to be less
than the TL of 0.6 ug/L in groundwater.

An estimated 32,000 pounds of the organo-sulfur compound MetaFix was injected into the
subsurface at IR-26. A total of 43 of 52 planned injection locations were injected with a
MetaFix -guar gum slurry using direct-push technology and a bottom-up injection pattern
(KMJV, 2021). Four quarters of post-injection monitoring was included as part of the
performance monitoring for the ISS injections. Additionally, the performance monitoring wells
are also sampled for dissolved mercury (as well as other Parcel B COCs) as part of the BGMP.

Performance monitoring and review of BGMP data from the performance monitoring wells are
as follows (KMJV, 2021; TRBW, 2023):

e IR26MW49A: Dissolved mercury exceeded the TL during baseline and performance and
BGMP monitoring. The most recent dissolved mercury concentrations were 1.01 yg/L in
March/April 2019, 3.45 pg/L in September 2019, 0.494 g/L in June 2020, 3.57 ug/L in
September 2021, and 1.79 g/L and 5.55 pg/L in March and September 2022, respectively
(TRBW, 2023). The Mann-Kendall statistical evaluation indicates a decreasing trend
(KMJV, 2021).

e IR26MW5O0A: Dissolved mercury was not detected during baseline or any post-treatment
monitoring.

e IR26MW51A: Dissolved mercury exceeded the TL during baseline sampling but was not
detected during seven of eight post-treatment monitoring events through June 2020. The
only detection exceeded the TL with a concentration of 1.66 g/L in December 2019.

e IR26MW/70A: Dissolved mercury was not detected during baseline or any post-treatment
monitoring.

e IR26MW/71A: Dissolved mercury exceeded the TL during baseline and performance
monitoring. Concentrations fluctuated between less than detection limits to a high of
8.55 yg/L. In 2022 concentrations were 1.18 yg/L and 1.75 wg/L in March and September,
respectively. Seasonal variability and possible localized releases from native sediment may
be contributing factors to the continued fluctuations of dissolved mercury. Native sediment at
this location consists of silty clay, organic materials, and silty sand to silty clay. The
Mann-Kendall statistical evaluation concluded that there was insufficient evidence of a trend
(KMJV, 2021).

After completion of the 3-year post-ISS treatment performance monitoring, the FFA regulatory
agencies (USEPA Region 9, DTSC, and Regional Water Board) released a tri-agency letter on
November 23, 2021 which reiterated that “mercury concentrations in groundwater along the San
Francisco Bay margin consistently exceed the trigger level. Therefore, in-situ stabilization (ISS)
has failed to minimize or prevent unacceptable discharge of mercury to the San Francisco Bay.
Consequently, additional treatment options need to be screened, evaluated, and pursued by the
Navy via the development of a new primary document work plan.” (USEPA, DTSC, and
Regional Water Board, 2021).

As discussed at the April 25, 2024 meeting, the Navy stated it would move forward with
optimizing ISS (e.g., use of a larger rig in areas of prior injection refusal) and the Navy

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recognizes that USEPA does not oppose any Navy attempt to do so, as long as such action is
timely and completed prior to July 31, 2025. As stated in the November 23, 2021 tri-agency
letter, the Navy also recognizes that USEPA continues to expect that additional treatment
options need to be screened, evaluated, and pursued by the Navy.

While there are continued exceedances of the TL in groundwater, the Navy’s current
assessment is that the following provides lines of evidence that the residual concentrations in
mercury in groundwater are not likely to result in a concentration above 0.6 yg/L in the bay
surface water:

e Completion of source removal in 2008 via a time-critical removal action (Insight, 2009).

e Partial success of the ISS as evidenced by reducing the extent of mercury exceedances of
the TL from 3 performance monitoring locations to 2 performance monitoring locations and
decreasing concentrations in one of the remaining locations (IR26MW49A). A time-series
plot of data through 2023 for IR26MW49A, IR26MW51A, and IR26MW71A is presented on
Figure 3-7. Mercury concentrations during the last 5 years of monitoring have been below
historical maximums and are consistently below 10 times the HGAL.

e The limited extent of impacted groundwater; IR26MW71A and IR26MW49A are
approximately 45 feet apart and IRZ6MW49A is approximately 88 feet from IR26MW51A
with no exceedances.

e Comparison of groundwater quality parameters to Bay surface water quality parameters
(temperature and dissolved oxygen, Table 3-4) indicate that the groundwater is not
representative of Bay water because groundwater temperature is consistently warmer than
surface water, and dissolved oxygen is consistently lower than surface water.

However, because there is uncertainty in the concentration at the exposure point and because
the ISS remedy did not reduce the concentration in groundwater to below 0.6 yg/L at all
monitoring wells, additional data collection, remedy optimization, and/or additional remedial
alternatives/treatment that have been screened for further evaluation are necessary to
determine whether the remedy is protective of the bay. Monitoring is ongoing under the BGMP.
Mercury detections in 2022 were within the historical range of concentrations.

Groundwater Monitoring

Groundwater is sampled through the BGMP. At Parcel B-2, groundwater LTM was initiated in
2004 and currently consists of sampling 12 groundwater monitoring wells screened in the
A-aquifer for VOCs, dichlorodifluoromethane (Freon-12), and metals, as well as MNA
parameters. The BGMP is routinely optimized based on monitoring data. The sampling protocol
for Parcel B-2 has not been amended. Annual and semiannual groundwater monitoring reports
from 2019 through 2021 were also reviewed (TRBW, 2020b, 2020c, 2021, 2022a, 2022b, 2023).
Appendix E presents exceedances of RGs (identified as PALs) from 2019, 2020, 2021, and
2022. Figure 3-5 shows exceedances of RGs from 2022.

Freon-12, lead, and mercury were the only COCs that exceeded RGs or TLs during this review
period. Historically, Freon-12 has been detected only in monitoring well IR26MW41A, and
before September 2018, concentrations were highly variable (TRBW, 2022b). Freon-12 was not
detected in monitoring well IR26MW41A in March 2021, which was the fifth consecutive event
concentrations had been less than the RG of 14 ug/L, but then exceeded the RG in

September 2021 with a concentration of 21 ug/L and was not detected in 2022. Lead exceeded
the TL (14.44 yg/L) at IRZ6MW70A with a result of 17.7 pg/L in March 2022, it did not exceed in

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September and was within the historic range for lead in Parcel B-2 (TRBW, 2023). Dissolved
mercury exceedances have been previously discussed.

Radiological Surveys and Remediation

ROCs suspected to be present at Parcel B include cobalt-60 (Co-60), strontium-90 (Sr-90),
cesium-137 (Cs-137), radium-226 (Ra-226), and plutonium-239 (Pu-239). The Navy conducted
TCRAs at Parcel B (both Parcels B-1 and B-2) to address potential radioactive contamination in
storm drains and sanitary sewer lines and radiologically impacted structures. In total, 65,184
cubic yards of soil was excavated during removal of 24,826 linear feet of sanitary sewer and
storm drain lines. Approximately 6,641 cubic yards of soil was disposed of offsite as LLRW
based on surface scan and analytical laboratory results. Additionally, FSSs were performed at
two radiologically impacted buildings (130 and 140), and the Building 140 discharge channel
(TtEC, 2012).

Institutional Controls

The land use and activity restrictions are described in the LUC RD Report (ChaduxTt, 2011a).
As described in the Amended ROD (Navy, 2009), the entire area of Parcel B-2 is subject to soil
and groundwater ICs. A portion of Parcel B-2 is also subject to ICs related to VOC vapors
(Figure 3-2). The ARICs related to VOC vapors may be redefined when land is planned for
transfer. Table 1-3 summarizes the IC performance objectives to be implemented through land
use restrictions for the site.

3.4.3.2 Remedy Operations and Maintenance

Ongoing O&M at Parcel B-2 includes maintaining the integrity of the revetment and asphalt
cover and performing IC inspections. The inspection and maintenance requirements for the
remedy are described in the Final O&M Plan for Parcel B-2 (Innovex-ERRG Joint Venture,
2018b). AOMSRs are prepared to summarize inspections and maintenance performed and to
document the effectiveness of the remedy components. AOMSRs from 2019, 2020, 2021, and
2022 were reviewed (Innovex-ERRG Joint Venture, 2020, 2021a; APTIM, 2022, 2023).

Durable Cover Maintenance

The shoreline revetment was determined to be in good condition. No signs of vegetation or
trash, pests, excessive vehicle traffic, settlement or movement, improper placement of fabric,
vandalism or theft, cover soil overtopping, wave overtopping, or scouring were observed. The
Navy is currently conducting a shoreline assessment study to identify and recommend repairs
and/or stabilization of structures and shoreline.

The asphalt cover was generally found to be in good condition, except for two small areas of
subsidence noted south of Building 140 during the September 2019 and October 2020 and
potholes near Building 130 and Building 140 observed during the September 2021 inspection.
The small subsidence areas damaged were repaired. Vegetation observed growing through
cracks in the asphalt pavement cover was removed in October 2020 and December 2021.

Building foundations were found to be in good condition, with no new or expanding cracking.
Generally, swales and check dams were clean and intact.

No settlement monuments were surveyed in Parcel B-2 during this review period. Based on the
negligible change (less than 0.1 foot) in historical survey monument elevations, the next round
of settlement monument surveys will be in 2024.

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Institutional Controls Compliance

ICs are inspected annually, and no deficiencies or inconsistent uses were observed during the
review. General site conditions were determined to be good. Remedy components, such as
survey benchmarks and monitoring well vault covers, were found to be in good conditions.

The Navy controls access to the parcel using security fencing, signage, locks, and gates, which
were found to be in good condition with no signs of damage or vandalism. However, during the
September 2021 inspection, the metal hasp on a door that secures Building 159 was found
broken during the annual inspection. The door was re-secured to Building 159 to prevent
unauthorized access.

3.4.4 Progress Since the Fourth Five-Year Review

Table 3-5 summarizes issues, recommendations, and follow-up actions from the Fourth Five-
Year Review.

3.5 Technical Assessment

3.5.1 Question A: Is the Remedy Functioning as Intended by the Decision
Document?

3.5.1.1 IR-07/18

Yes. Based on the review of historical documents, annual IC inspections, and the Five-Year
Review inspection, the remedy at IR-07/18 is functioning as intended.

Exposure pathways that could result in an unacceptable risk are being controlled through the
durable covers and ICs. The shoreline revetment, soil cover, and asphalt cover are in good
condition, and any minor issues have been repaired. No deficiencies or inconsistent uses of the
ICs were observed during the inspections. Radiological concerns in soil are addressed by the
cover with demarcation layer and ICs. Groundwater monitoring of metals and radionuclides is
ongoing, and TLs were not exceeded during this review period.

3.5.1.2 Parcel B-7

Yes. Based on the review of historical documents, annual IC inspections, and the Five-Year
Review inspection, the remedy at Parcel B-1 is functioning as intended.

Soil hotspot areas were removed through excavation and offsite disposal. Exposure pathways to
residual COCs that could result in an unacceptable risk are being controlled through the durable
covers and ICs. The soil cover, shoreline revetment, and asphalt cover are in good condition,
and any minor issues have been repaired. VC and TCE groundwater exceedances of the RGs
were reported for 2019 to 2021. The SVE system was operated as a source-reduction measure
and reached a point of diminishing returns in 2020. Proposed work to remove the SVE system
and to excavate soil exceedances (Insight-ESI, 2023) will further address VOC contamination at
IR-10. No deficiencies or inconsistent uses of the ICs were observed during the inspections.
Radiological concerns were addressed through previous radiological surveys and remediation of
soil and building structures, and radiological retesting is being conducted to confirm that the
RAO has been met, with the goal of unrestricted closure.

3.5.1.3 Parcel B-2

Uncertain. The ISS injections did not effectively reduce mercury in two locations (IRZ6MW49A
and IR26MW/7 1A) to below the TL of 0.6 g/L. Although mercury continues to exceed TLs in

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groundwater collected from downgradient monitoring wells, data demonstrating that mercury
concentrations in surface water (the ultimate receptor) are below the HGAL of 0.6 yg/L still
lacks. The RAO is stated as follows:

Prevent or minimize migration to the surface water of San Francisco Bay of chromium VI,
copper, lead, and mercury in the A-aquifer groundwater that would result in
concentrations of chromium VI above 50 ug/L, copper above 28.04 ug/L, lead above
14.44 ug/L, and mercury above 0.6 ug/L in the surface water of San Francisco Bay. This
RAO is intended to protect the beneficial uses of the bay, including ecological receptors
(Navy, 2009).

Data at the groundwater-surface water interface has not been collected; however, from the
Navy's perspective, it is not expected that mercury exceeds 0.6 yg/L based on the following
rationale:

e Source concentrations in soil have been removed during the IR-26 Mercury Removal TCRA
(Insight, 2009).

e Although dissolved mercury in groundwater exceeds the TL in two locations, Mann-Kendall
analysis indicates it is decreasing at one location (KMJV, 2021), indicating partial success of
the ISS remedy at minimizing migration to the surface water.

e The TL is the Hunters Point groundwater ambient level (HGAL), which is not a risk-based
concentration, formal RG, or ARAR according to the ROD Amendment (Navy, 2009).

e The screening of groundwater data against the TL or other surface water benchmarks, such
as the National Recommended Water Quality Criteria (NRWQC; USEPA, 2023),
conservatively assumes that ecological receptors are directly exposed to measured
concentrations in groundwater. However, there will be a mixing zone where groundwater
interfaces with surface water. The extent of that zone is unknown, but mixing is expected to
occur, and the concentrations would decrease with distance from the mixing zone and tidal
action. Site-specific mixing factors can range from 1 to several thousand. For example,
USEPA uses a default mixing and attenuation factor of 20 to address the dilution of soil
leachate as it moves through the groundwater aquifer (USEPA, 1996). Furthermore, mixing
studies conducted by State of Washington, Department of Ecology (2009) found that the
majority of the reduction in porewater concentrations was because of dilution by surface
water and averaged 90 percent (that is, a dilution factor of 0.1). Assuming a similar dilution
factor, the maximum post-injection detected concentration of dissolved mercury (8.55 yg/L)
would be 0.855 ug/L, which does not exceed the NRWQC of 0.94 ug/L (USEPA, 2023).

e The post-treatment concentrations after 2018 have consistently been lower than 10 times the
0.6 yg/L TL at both IR26MW49A and IR26MW71A (Figure 3-7).

e Groundwater quality parameters (temperature and dissolved oxygen) indicate that the water
in sentinel wells IR26MW49A, IR26MW50A, IR26MW51A, and IR26MW71A are not
representative of surface water (Table 3-4).

Review of annual O&M inspections, historical documents, and the Five-Year Review inspection
indicates that the durable covers and ICs are effective. Soil hotspot areas were removed
through excavation and offsite disposal. Exposure pathways that could result in an unacceptable
risk to human receptors are being controlled through the durable covers and ICs. The soil cover,
shoreline revetment, and asphalt cover are in good condition, and any minor issues have been
repaired. No deficiencies or inconsistent uses of the ICs were observed during the inspections.

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Radiological concerns are addressed through past radiological work, and radiological retesting
is being conducted to confirm that the RAO has been met, with the goal of unrestricted closure.
With the exception of dissolved mercury at one location, groundwater monitoring indicates
COCs in groundwater are decreasing or continue to be less than RGs and TLs.

3.5.2 Question B: Are the Exposure Assumptions, Toxicity Data, Cleanup
Levels, and Remedial Action Objectives Used at the Time of the
Remedy Selection Still Valid?

Yes. Based on the results of the ARAR evaluation, HHRA analysis, and ERA analysis discussed
in the following sections, the exposure assumptions, toxicity data, cleanup levels, and RAOs
used at the time of remedy selection are still valid. Although there have been some changes to
toxicity values and risk assessment methods, these changes do not affect remedy
protectiveness.

3.5.2.1 ARAR Evaluation

The Navy evaluated the ARARs established in the RODs for Parcel B. No changes to location-
specific or action-specific ARARs that would affect the protectiveness of the remedies were
identified. Changes to chemical-specific ARARs for individual chemicals are discussed in the
following HHRA and ERA Analysis sections.

In 2021, California Public Resources Code Division 20.6.5, California Sea Level Rise Mitigation
and Adaptation Act of 2021, was passed; however, no regulations have been promulgated to
implement the act. The Navy is addressing SLR as discussed in Section 1.4.2 of this Five-Year
Review.

3.5.2.2 HHRA Analysis

The HHRA evaluation was conducted by comparing the human health RGs from the Amended
ROD (Navy, 2009) with current risk-based criteria based on the same exposure scenario, and
ARARs, if available. In September 2018, the State of California promulgated the Toxicity Criteria
for Human Health Risk Assessments, Screening Levels, and Remediation Goals regulation
(Toxicity Criteria Rule [TCR]). The TCR is codified at Cal. Code Regs., title 22, division 4.5,
chapter 51, article 2, §§ 69020, 69021, and 69022. The TCR specifies the DTSC-preferred
toxicity criteria (identified in TCR Appendix I, Tables A and B) to use to prepare HHRAs and to
calculate screening levels and RGs based on human health risk at California hazardous waste
and hazardous substance release sites. For this Five-Year Review, the USEPA recommended
toxicity criteria hierarchy for HHRAs was followed to calculate the current comparison criteria
discussed herein (USEPA, 2003):

e Tier 1 - USEPA Integrated Risk Information System (IRIS)
e Tier 2 - USEPA Provisional Peer-Reviewed Toxicity Values (PPRTVs)
e Tier 3 — Other sources in the order listed:
- Agency for Toxic Substances and Disease Registry minimal risk levels

— California Environmental Protection Agency Office of Environmental Health Hazard
Assessment toxicity values

— Screening toxicity values provided in USEPA PPRTV appendices
— USEPA Health Effects Summary Table values

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USEPA has incorporated this toxicity criteria hierarchy into its RSLs, which are updated
semi-annually.

Response complete for soil is achieved with excavation, durable cover construction and
maintenance, and ICs, as documented in the respective RACRs for IR-07/18, Parcel B-1, and
Parcel B-2 (ERRG, 2011, 2012a, 2017; Innovex-ERRG Joint Venture, 2018a). Therefore, any
changes in exposure assumptions and toxicity data would not affect protectiveness of

the remedy.

Table 3-6 shows the RGs and current comparison criteria for groundwater. The RGs for the
groundwater COCs in the Amended ROD (Navy, 2009) were based on consideration of
exposure scenario-specific (residential or industrial vapor intrusion and construction worker
trench exposure [A-aquifer], or residential domestic use [B-aquifer]) risk-based- concentrations
(based on a cancer risk of 10* or a noncancer hazard index of 1), laboratory practical
quantitation limits (PQLs), chemical-specific ARARs, and HGALs. RGs were compared with the
following current comparison criteria (USEPA, 2022a):

e A-aquifer Groundwater: Vapor intrusion screening levels (VISLS) calculated using the current
USEPA VISL calculator for the residential and commercial scenarios

e B-aquifer Groundwater: Current USEPA tap water RSLs, California MCLs, and USEPA
MCLs

For the majority of the COCs where the risk-based concentration was selected as the RG, the
current risk-based concentration (RSL, DTSC-screening level [SL], or VISL) is higher.

There are a few cases where a current risk-based concentration (VISL) is less than a risk-based
RG (or the PQL or HGAL) from the Amended ROD (Navy, 2009; Table 3-6).

Although some current risk-based levels are less than the RGs, the ICs that are currently in
place and the durable cover across the site prevent exposure to site media; therefore, the
remedy remains protective. There may be changes with HHRA analysis for the construction
worker scenario. Changes in exposure parameter values would likely only result in a small
change to HHRA results since standard construction worker exposure factors have not changed
significantly since the RI was prepared (not orders of magnitude). The following construction
worker exposure parameter values have changed since the original HHRA was prepared:

e The construction worker body weight used in the HHRA was 70 kilograms; however, the
adult body weight used in HHRAs based on current USEPA guidance (USEPA, 2014) would
be 80 kilograms.

e The skin surface area for a construction worker exposed to soil used in the HHRA was
5,700 square centimeters (cm2); however, based on current USEPA guidance (USEPA,
2014), a construction worker skin surface area exposed to soil is 3,527 cm?.

e The soil-to-skin adherence factor used in the HHRA for a construction worker was
0.8 milligram per cm2, where the soil-to-skin adherence factor for a construction worker used
in a current HHRA would be 0.3 milligram per cm? (the 95th percentile adherence factor for
construction workers [USEPA, 2004)).

e The skin surface area for exposure to groundwater used in the HHRA was 2,370 cm2. A
current HHRA would use a skin surface area of 6,032 cm? (the weighted average of mean
values for head, hands, forearms, and lower legs [USEPA, 201 1)).

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e Additionally, for inhalation exposures for both groundwater and soil, inhalation toxicity values
are now presented and used in milligram(s) per cubic meter (noncancer) or 1 microgram per
cubic meter for cancer; therefore, the intake equations no longer incorporate inhalation rate.

Toxicity values could result in larger changes (potential orders of magnitude changes), such as
for TCE, for which toxicity values were updated in 2009 after the initial HHRA was

completed. However, those changes will not affect the RGs for the construction worker scenario
identified in the ROD because ICs require identification and management of potential risks to
construction workers through the preparation and approval of plans and specifications for all
construction activities that may pose unacceptable exposure to construction workers. There
have been no changes in current exposure pathways based on the site controls or changes in
planned future site use since the ROD that would change the protectiveness of the current
remedy.

Radiological Risk Review

In October 2020, after the preparation of the Five-Year Review addenda, USEPA introduced a
PRG calculation method called “Peak PRG,” which computes PRGs accounting for ingrowth and
decay of progeny over time. An evaluation was performed for this Five-Year Review to assess
whether this change affected the continued protectiveness of the current soil RGs for future
residents. Exposure calculations were performed using the USEPA PRG Calculator (USEPA,
2022b). For this soil evaluation, the estimated excess cancer risk was calculated using the
“Peak Risk” time interval of 1,000 years (Navy, 2020). The soil RGs were used as exposure
point concentrations, and the cumulative cancer risk was calculated as the sum of risks from all
ROCs. Appendix F presents the estimated excess cancer risks calculated from this evaluation
and the supporting data. Under CERCLA, cleanup goals are considered protective if excess
cancer risks from site exposures remain within the 10+ to 10 range. Based on the findings of
this evaluation, the soil RGs are within this range and continue to be protective for future
residential exposures.

There were no changes to the risk assessment methods related to structures or buildings for
radiological concerns since the last Five-Year Review.

3.5.2.3 ERA Analysis

The ERA evaluation was conducted by reviewing the exposure and toxicity assumptions used in
the SLERA, identifying the most sensitive receptor that was used as the basis of the ecological
RGs or TLs and comparing them with current standards of practice for ERAs to determine if the
RGs remain protective. Overall, the SLERA was a very conservative assessment, and minor
changes to risk methodology or current sources of exposure and toxicity values do not
significantly affect the resulting RGs or TLs. The key input parameters are summarized

as follows:

e Exposure Factors and Assumptions: Potential exposures to sediment were evaluated for
benthic invertebrates, birds, and mammals. Exposures were evaluated for both surface
(0 to 2 feet bgs) and subsurface (2.5 to 4 feet bgs) sediments, although the biologically
active zone is considered to occur within the top 0.5 foot bgs. The deeper sediments were
evaluated under the assumption that erosion may expose deeper sediments to the surface.
The sources of exposure factors for birds and mammals, including body weight, ingestion
rate, and dietary items, are still in use today and represent current state of practice. Area use
factors were not used to estimate potential exposure for birds or mammals (that is, receptors
were assumed to spend 100 percent of their life within the site boundary).

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e Toxicity Values: Toxicity values used for benthic invertebrates, birds, and mammals are still
used in ERAs, although there are additional sources for some analytes that are more
commonly used. Toxicity values used to evaluate potential risks to benthic invertebrates
were effects range median (ERM) values (Long et al., 1995). Toxicity reference values
(TRVs) used for birds and mammals were the Region 9 Biological Technical Assistance
Group (BTAG) TRVs (USEPA Region 9 BTAG, 1998) or wildlife TRVs (Sample et al., 1996).
The benthic invertebrate sediment ERMs and bird and mammal TRVs (Sample et al., 1996)
are still commonly used. The Region 9 BTAG TRVs are not used as often and are typically
placed after USEPA ecological soil screening level (EcCoSSL)-based TRVs. The differences
in TRVs between the sources vary depending on the analyte. For some analytes, the
EcoSSL TRVs are more conservative than the Region 9 BTAG TRVs, and, for others, the
EcoSSL TRVs are less conservative. However, overall use of the Region 9 BTAG TRVs in
estimating risk or deriving RGs remains protective because area use factors were not used.

e Risk Estimation: Recommendations for retaining analytes as COCs were made based on
hazard quotient exceeding 1 at the Low Effect toxicity level for at least one receptor group.
Additional lines of evidence to weigh the significance of an exceedance were not employed.

Table 3-7 summarizes the sediment COCs identified for ecological receptors. along with the
basis of the RGs, comparison with current state of practice, and evaluation of protectiveness.
Overall, slight changes in toxicity values would not significantly change the results of the risk
assessment or derivation of risk-based concentrations that were evaluated for use as RGs. The
sediment RGs remain protective for ecological receptors.

Table 3-8 presents groundwater COCs with a summary of TLs and current surface water quality
criteria from NRWQC (USEPA, 2023) and the San Francisco Basin Plan (SFRWCQB, 2019).
Groundwater data were compared with surface water screening levels and HGALs in the
SLERA to evaluate potential for risk to aquatic organisms in San Francisco Bay. The evaluation
of groundwater was very conservative because it was assumed that aquatic receptors would
have direct exposure to chemicals in groundwater at their measured concentrations.

Mercury was the only metal retained as a potential risk to aquatic organisms in the SLERA.
Chromium VI, copper, and lead were also included in the groundwater RAO based on review of
data during the Amended ROD (Navy, 2009). The chronic NRWQC for chromium VI and the
HGALs for copper, lead, and mercury were retained as TLs for monitoring purposes only as
surface water benchmarks are not ARARs for ecological exposures to groundwater.

There have been no changes in site conditions or exposure parameters or mercury toxicity
values that would call into question the selected trigger level of 0.6 ug/L, which is the
background concentration of mercury in groundwater. The calculation methods and supporting
information for this value are provided in the Estimation of Hunters Point Shipyard Groundwater
Ambient Levels Technical Memorandum (PRC, 1996a).

3.5.3 Question C: Has Any Other Information Come to Light that Could
Question the Protectiveness of the Remedy?

Yes. As identified in the Fourth Five-Year Review, there is uncertainty with the radiological

survey and remediation work. The Navy is in the process of implementing corrective actions to

ensure the radiological remedies specified in the decision documents were implemented as

intended; however, this work is ongoing. Radiological retesting is currently being conducted at

Parcels B-1 and B-2; long-term protectiveness will be confirmed upon completion. Until retesting

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is complete, Navy controls access to the parcel through fencing, locked gates and institutional
controls (restricting intrusive work and maintaining durable covers).

3.6 Issues, Recommendations, and Follow-up Actions

Table 3-9 summarizes the identified issues, recommendations, and follow-up actions for
Parcels B-1 and B-2.

No issues have been identified for IR-07/18 that prevent the remedy from being protective of
human health and the environment; therefore, no recommendations or follow-up actions are
required to ensure protectiveness of the remedy.

3.6.1 Other Findings

The following findings were identified that do not affect current or future remedy protectiveness
but warrant consideration as part of CERCLA cleanup and site management.

3.6.1.1 PFAS

As discussed in Section 1.4.1, a Basewide PA was conducted to identify potential PFAS
release areas based on historical use or limited sampling data. The following is a summary of
the areas identified for additional investigation in the PA (Multi-MAC JV, 2022) and SI

(Liberty JV, 2023):

e Parcels B-1 and B-2 A-aquifer Groundwater: A-aquifer groundwater beneath Parcels B-1
and B-2 was identified for additional investigation because of past industrial use in the
parcels and PFOA, PFOS, PFNA, and PFHxS exceeded project screening levels during the
S| (Appendix G).

e Parcel B-1: IR-10, Battery and Metal Plating Shop, was identified as an area where further
investigation is warranted to determine the presence of PFAS in soil and groundwater based
on historical site use and limited groundwater sampling results that detected PFOA, PFOS,
PFNA, PFBS, and PFHxS. PFOA, PFOS, and PFNA exceeded project screening levels in
groundwater during the SI (Appendix G).

Exposure to groundwater and soil is restricted by ICs within the HPNS, and the City and County
of San Francisco prohibits installation of domestic wells within city and county limits.

3.6.1.2 Climate Resilience

The CRA estimates that groundwater emergence may occur within IR-07/18 and Parcels B-1
and B-2 by the year 2065 (Appendix A). Site-specific studies are planned to verify these
mapping projections and evaluate the 2100 timeframe, at a minimum.

However, protectiveness is only affected when increased CERCLA risk attributable to climate
hazards has been identified (groundwater is likely to emerge and land use is such that receptors
could be exposed and a future unacceptable health or ecological risk has been identified, data
collected, validated, and evaluated following CERCLA risk assessment processes resulting in
unacceptable risk to receptors). Where the potential for increased vapor intrusion is identified in
other CERCLA documents, ARICs for VOCs are present, groundwater is being monitored, and
removal of VOCs is occurring either through MNA or active remediation, thus reducing the
potential for future vapor intrusion by reducing the source. Therefore, the potential for
groundwater emergence does not affect the protectiveness determination in this Five-Year
Review.

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3.6.1.3 Site Management Strategy

The Navy is reassessing the site management strategy for Parcel B based on the following
considerations:

e The Navy is planning to conduct a detailed assessment of groundwater COC concentrations
to document and eliminate COCs that have achieved response complete and to tabulate
groundwater and soil COC concentrations to ensure health and safety professionals have
the information needed to protect future construction workers.

e The Navy is also planning to optimize the monitoring frequency and locations for areas that
have not undergone any changes that could affect the concentrations of chemicals, metals,
and/or ROPCs in groundwater (for example, RA or development construction).

3.7 Statement of Protectiveness
3.7.1. IR-07/18

Protectiveness Determination: Protective

Protectiveness Statement: The remedy at IR-07/18 is protective of human health and the
environment.

The RAOs for soil and soil gas have been met through excavation and removal of contaminated
soil, durable covers, and ICs. Groundwater monitoring indicates that COCs and ROPCs are less
than TLs during the majority of sampling events.

3.7.2 Parcel B-1
Protectiveness Determination: Short-term Protective

Protectiveness Statement: The remedy at Parcel B-1 is currently protective of human health
and the environment. To determine whether the remedy can be considered protective in the
long term, the radiological retesting work and the excavation of VOC-impacted soil will be
completed.

The RAOs for soil are met through hotspot excavation and offsite disposal, durable covers, and
ICs. Excavation of VOC-impacted soil will permanently remove the source of VOCs to soil gas
and groundwater. Groundwater LTM and MNA is ongoing. Exposure to groundwater is
controlled through ICs. Radiological retesting is ongoing to confirm that levels in soils and
structures are protective of human health. Until retesting is complete, short-term protectiveness is
met through Navy controls such as access to the parcel through fencing, locked gates, and ICs
(restricting intrusive work and maintaining durable covers).

3.7.3 Parcel B-2
Protectiveness Determination: Protectiveness Deferred

Protectiveness Statement: A protectiveness determination cannot be made because there is
uncertainty related to the concentrations of mercury discharging to the Bay from Parcel B-2, IR-
26 groundwater. In order to make a protectiveness determination, the following actions needs to
be made: (1) evaluate technologies for treating mercury in groundwater (2) apply the selected
method that is within compliance of the selected remedy in the record of decision. A draft
primary document presenting the evaluation of the technologies and the proposed treatment
method will be provided to the FFA regulatory agencies for review by October 31, 2024. The
Navy anticipates initiating field application of the selected treatment method by Mid-July 2025.

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Contingencies will be discussed during development of the work plan and exercised as the need
arises. The protectiveness determination will be re-evaluated in the Five-Year Review
addendum based on information that becomes available after the completion of this FYR. The
RAOs for soil are met through durable covers and ICs. Groundwater LTM and MNA is ongoing.
Exposure to groundwater is controlled through ICs. Radiological retesting is ongoing to confirm
that levels in soil and structures are protective of human health.

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3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)

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Table 3-1. Parcel B Chemicals of Concern and Remediation Goals

Exposure Exposure Amended ROD Source of
: ' Chemical of Concern Remediation Goal Remediation
Medium Scenario
(2009) Goal
Antimony 10 RBC
Aroclor-1254 0.093 RBC
Aroclor-1260 0.21 RBC
Arsenic 11.1 HPAL
Benzo(a)anthracene 0.37 RBC
Benzo(a)pyrene 0.33 PQL
Benzo(b)fluoranthene 0.34 RBC
Benzo(k)fluoranthene 0.34 RBC
Beta-BHC 0.0066 RBC
Bis(2-ethylhexyl)phthalate 1.1 RBC
Cadmium 3.5 RBC
Copper 159 RBC
Residential Dibenz(a,h)anthracene 0.33 PQL
Dieldrin 0.0034 PQL
Heptachlor epoxide 0.0017 PQL
Indeno(1,2,3-cd) pyrene 0.35 RBC
lron 58,000 HPAL
Lead 155 RBC
Soil Manganese 1,431 HPAL
(mg/kg) Mercury 2.3 HPAL
Naphthalene 1.7 RBC
Tetrachloroethene 0.48 RBC
Trichloroethene 2.9 RBC
Vanadium 117 HPAL
Zinc 373 RBC
Aroclor-1254 0.74 RBC
Aroclor-1260 0.74 RBC
Recreational Arsenic 11.1 HPAL
Benzo(a)pyrene 0.33 PQL
Lead 155 RBC
Arsenic 11.1 HPAL
Industrial Benzo(a)anthracene 1.8 RBC
Benzo(a)pyrene 0.33 PQL
Aroclor-1260 2.1 RBC
: Arsenic 11.1 HPAL
vonsimetion Benzo(a)pyrene 0.65 RBC
Lead 800 RBC
Trichloroethene 151 RBC
Aluminum 3400 RBC
Copper 270 RBC
Dibenz(a,h)anthracene 0.33 PQL
: Dieldrin 0.008 RBC
Sediment (mg/kg) Prolosical Lead 218 RBC
p Methoxychlor 0.4 RBC
Total Aroclors 0.18 RBC
Total DDT 0.046 RBC
Zinc 410 RBC
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Table 3-1. Parcel B Chemicals of Concern and Remediation Goals

Exposure Exposure Amended ROD Source of
: ' Chemical of Concern Remediation Goal Remediation
Medium Scenario
(2009) Goal
1,2,4-Trichlorobenzene 66 RBC
1,2,4-Trimethylbenzene 25 RBC
1,2-Dichlorobenzene 2,561 RBC
1,2-Dichloroethane 2.3 RBC
1,2-Dichloroethene (total) 209 RBC
1,2-Dichloropropane 1.1 RBC
1,3,5-Trimethylbenzene 19 RBC
1,4-Dichlorobenzene 2.1 RBC
2-Methylnaphthalene 707 RBC
Benzene 0.5 PQL
Bromodichloromethane 1 RBC
Residential Vapor Chlorobenzene 392 RBC
Intrusion Chloroethane 6.5 RBC
Chloroform 1 PQL
cis-1,2-Dichloroethene 209 RBC
Dichlorodifluoromethane 14 RBC
Mercury 0.68 RBC
Methylene chloride 27 RBC
Naphthalene 3.6 RBC
Tetrachloroethene 1 PQL
trans-1,2-Dichloroethene 182 RBC
Trichloroethene 2.9 RBC
Trichlorofluoromethane 176 RBC
Vinyl chloride 0.5 PQL
Industrial Vapor Chloroform 1.2 RBC
Groundwater - 1,2.4-Trichlorobenzene 55 RBC
A-aquifer 1,2,4-Trimethylbenzene 72 RBC
(ug/L) 1,2-Dichlorobenzene 2,215 RBC
1,2-Dichloroethane 30 RBC
1,2-Dichloroethene (total) 363 RBC
1,2-Dichloropropane 40 RBC
1,4-Dichlorobenzene 68 RBC
2,4,6-Trichlorophenol 15 RBC
2,4-Dimethylphenol 9,801 RBC
2,4-Dinitrotoluene 179 RBC
2-Methylnaphthalene 140 RBC
4-Methylphenol 3,500 RBC
i Arsenic 40 RBC
Woreruct on Benzene 22 RBC
Exposure Benzo(a)anthracene 2 PQL
Benzo(a)pyrene 2 PQL
Bromodichloromethane 26 RBC
Chlorobenzene 594 RBC
Chloroform 36 RBC
Chrysene 6.4 RBC
cis-1,2-Dichloroethene 363 RBC
Mercury 4.68 RBC
Naphthalene 20 RBC
Pentachlorophenol 25 PQL
Tetrachloroethene 19 RBC
trans-1,2-Dichloroethene 721 RBC
Trichloroethene 374 RBC
Vinyl chloride 7.2 RBC
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Table 3-1. Parcel B Chemicals of Concern and Remediation Goals

Exposure Exposure Amended ROD Source of
: ' Chemical of Concern Remediation Goal Remediation
Medium Scenario
(2009) Goal
1,4-Dichlorobenzene 7.5 ARAR
Antimony 43.26 HGAL
G dwat Arsenic 27.34 HGAL
rounawater - : : Benzene 5 ARAR
B-aquifer De ohn ee Chloroethane 4.6 RBC
(ug/L) Manganese 8,140 HGAL
Pentachlorophenol 25 PQL
Thallium 12.97 HGAL
Trichloroethene 5 ARAR

ug/L = microgram(s) per liter

ARAR = applicable or relevant and appropriate requirement
BHC = benzene hexachloride

DDT = dichlorodiphenyltrichloroethane

HGAL = Hunters Point groundwater ambient level

HPAL = Hunters Point ambient level

mg/kg = milligram(s) per kilogram

PQL = practical quantitation limit

RBC = risk-based concentration

ROD = Record of Decision

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HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA
3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)

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HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA
3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)

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HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA

3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)

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Time-series Plots for Mercury in IR-26 Groundwater

Fifth Five-Year Review
Hunters Point Naval Shipyard
San Francisco, California

Figure 3-7

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HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA
3.0 FORMER PARCEL B (INSTALLATION RESTORATION SITES 07 AND 18, PARCELS B-1 AND B-2)

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HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA

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4.0 FORMER PARCEL C (PARCELS C AND UC-2)

4.0 Former Parcel C (Parcels C and UC-2)

4.1 Site History and Background

Former Parcel C is the oldest portion of the shipyard and was used almost exclusively for
industrial purposes since the late 1800s. The central portion of the shipyard was formerly part of
the industrial support area and was used for shipping, ship repair, and office and commercial
activities. NRDL used portions of Parcel C.

Former Parcel C is bounded by Former Parcel B to the north, Parcel A to the west, Former
Parcel D to the south, and the San Francisco Bay to the east. Former Parcel C covered
approximately 79 acres, which was subdivided into two parcels in 2008: Parcel C (73 acres) and
Parcel UC-2 (3.9 acres) (Figure 4-1).

The following IR sites are located in Parcels C and UC-2:

e Parcel C: IR-06 (partial), IR-25, IR-27, IR-28, IR-29, IR-30, IR-57, IR-58, IR-63, and IR-64
e Parcel UC-2: IR-06 (partial)

Four IR sites (IR-45, IR-49, IR-50, and IR-51) are facility-wide utilities that cut across other IR
sites or are the locations of former transformer storage areas. Investigations at Parcels C and
UC-2 began in 1994 as shown in the following chronology.

Parcel C Chronology
Date Investigation/Action
1994 Sl
3/1997 RI
1996-1997 Exploratory Excavation Removal Action
1996-1997 Storm Drain Sediment Removal
1996-1998 FS (initial phase)
7/1998—9/1999 Soil Removals at IR-06 and IR-25
1999 Risk Management Review
4/2001 Groundwater Treatability Study at Building 253
2000-2002 Fuel and Steam Line TCRA
2001-2002 SVE Treatability Studies
9/2002 Groundwater Treatability Study at Building 272
2002-2004 Waste Consolidation and Removal Activities
2003 Encapsulation of Drainage Culvert Sediment at Dry Dock 4
2004 Degreaser Pit/Separator Demolition at RU-C5

HRA

2004—Ongoing

Groundwater Monitoring under the BGMP

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FIFTH FIVE-YEAR REVIEW REPORT
HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA

4.0 FORMER PARCEL C (PARCELS C AND UC-2)

Parcel C Chronology
Date Investigation/Action
Groundwater Treatability Study at Building 134
2004-2005 a: wa:
Follow-on Groundwater Treatability Study at Building 272
2008 Revised FS
12/2009 Parcel UC-2 ROD
2009-2010 Groundwater Treatability Study at Building 253
2010-2011 Groundwater Treatability Study at Building 134
9/2010 Parcel C ROD
Pre-design Investigation RU-C2
RD for Parcel C
2012 a:
Treatability Study RU-C5
Durable Cover installation Parcel UC-2
RAWPs for Parcel C
2013 Third Five-Year Review for HPNS
RACR for Durable Covers at UC-2
2013-2015 Soil Excavation and Disposal, Parcel C
2013-2018 SVE System Operation, Parcel C
2013—Ongoing Groundwater Remediation and Performance Monitoring
10/2014 ESD to the Final ROD for Parcel C
2015 Transfer of Parcel UC-2 to the City and County of San Francisco's OCI
2015-2016 Durable Cover Installation, Parcel C
2017 RACR for Durable Covers in Parcel C
2019 Fourth Five-Year Review for HPNS
2019 Groundwater remediation in RU-C1 and RU-C2
2021 Groundwater remediation in RU-C4
2022-—Ongoing Radiological Retesting Fieldwork Parcel C

4.2 Site Characterization

This section summarizes the findings from various investigations at Parcels C and UC-2 that are
pertinent to the Five-Year Review.

4.2.1 Physical Characteristics

4.2.1.1 Surface Features

Parcel C is located in the lowlands portion of HPNS, and ground surface elevations generally
range from 0 to 10 feet above msl. More than 90 percent of Parcel C is covered by pavement

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FIFTH FIVE-YEAR REVIEW REPORT
HUNTERS POINT NAVAL SHIPYARD, SAN FRANCISCO, CALIFORNIA

4.0 FORMER PARCEL C (PARCELS C AND UC-2)

and former industrial buildings. The area surrounding and adjacent to Dry Dock 2 and Dry Dock
3 was identified as the Hunters Point Commercial Dry Docks Historical District.

Surface water runoff was historically collected in the storm drain system and discharged to the
bay through outfalls. However, the storm drains and sewer lines were removed during
ongoing radiological investigations, and surface drainage swales redirect stormwater to

San Francisco Bay.

4.2.1.2 Geology and Hydrogeology

The western portion of Parcel C contains native soil over shallow bedrock, whereas most of the
parcel consists of flat lowlands. The lowlands were constructed by placing borrowed fill material
from various sources, including crushed serpentinite bedrock from the adjacent highland,
construction debris, and waste materials (such as used sandblast materials). The serpentinite
bedrock and serpentine bedrock-derived fill material consist of minerals that naturally contain
asbestos and relatively high concentrations of arsenic, manganese, nickel, and other
ubiquitous metals.

The following is a summary of hydrostratigraphic units at Parcel C (SulTech, 2008; ECC-Insight,
2019):

e A-Aquifer: Depth to the top of the A-aquifer occurs at approximately 8 to 10 feet bgs across
most of Parcels C and UC-2. Groundwater flows to the southeast or northeast, directly
toward the bay or dry dock, at bayside perimeter locations of the parcels. The A-aquifer
averages between 20 and 25 feet thick over most of Parcels C and UC-2. Tidal fluctuations
were observed from 150 to 500 feet inland from the bay.

e Bay Mud: The Bay Mud is present at Parcels C and UC-2. It generally thickens from 0 feet in
the southwest to 40 feet in the northeast. A 5- to 12-foot-thick Sandy Lean Clay layer was
identified in borings advanced during previous investigations within the RU-C2 area, which
also acts as an aquitard separating the A- and B-aquifers when Bay Mud is absent
(ECC-Insight, 2019).

e B-Aquifer: The B-aquifer is present over an area of approximately 22 acres, or about
28 percent of Parcel C, in the east-central area. It is semiconfined by Bay Mud and Sandy
Lean Clay (ECC-Insight, 2019). It is not present at Parcel UC-2. Groundwater elevations
range from 1 foot below msl in the eastern portion of Parcel C during spring and summer to 4
to 5 feet above msl in the western portion of the parcel (TRBW, 2023). Groundwater flows
generally to the southeast.

e Fractured Water-bearing Zone (F-WBZ): The water table is present within the saturated
F-WBZ over approximately 30 acres (38 percent) of Parcel C.

As discussed in Section 1.3.4.3, the entire A-aquifer and the B-aquifer within Parcel C, with the
exception of a small portion of the B-aquifer associated with Parcel B (RU-5, in the area of
Building 134), meets the Resolution 88-63 exception criteria. Similarly, the exception applies to
F-WBZ where it is in direct contact with or hydrogeologically connected to the overlying A- and
B-aquifers.

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4.2.2 Land Use

4.2.2.1 Current Land Use

Parcel C is currently owned by the federal government and is under the jurisdiction of the Navy.
There are no tenants at Parcel C.

Parcel UC-2 was transferred out of federal ownership to the City and County of San Francisco’s
OCIl in late 2015 and is currently used as a roadway and utility corridor.

4.2.2.2 Future Land Use

According to the Redevelopment Plan (OCII, 2018), Parcel C land uses will include office and
industrial, multi-media and digital arts, hotel, retail sales and services, residential (select areas;
see redevelopment plan), civic, arts and entertainment, parks and recreation, and institutional
uses. The area along the eastern portion of Parcel C bounded by the bay will be set aside for
parks and open space.

4.2.3 Basis for Taking Action

This section describes the results of site investigations and risk assessments that provide the
basis for taking action at Parcel C. Details are provided in the RI (PRC et al., 1997), FS
(SulTech, 2008), Parcel C ROD (Navy, 2010) and ESD (Navy, 2014), and Parcel UC-2 ROD
(Navy, 2009).

4.2.3.1 Site Investigations and Pre-ROD Removal Actions

Previous investigations at Parcel C identified metals, VOCs, PAHs, and PCBs in soil; VOCs,
PAHs, SVOCs, and metals in groundwater; and radiologically impacted structures and soil. The
Navy has currently defined four Rus for groundwater: RU-C1, RU-C2, RU-C4 (includes former
RU-C3), and RU-C5. Rus consist of an area of a known source of contamination and the area of
contaminated groundwater associated with that source.

The Navy has completed a number of removal actions and treatability studies at Parcel C. Two
key soil removal actions reduced or eliminated certain risks to human health and ecological
receptors. More than 3,000 samples were collected, and approximately 9,600 cubic yards of soil
was excavated during the exploratory excavations and the steam and fuel lines TCRA. Past and
ongoing treatability studies at Parcel C have focused on technologies to reduce VOCs in
groundwater and soil, including zero-valent iron (ZVI) injection and sequential anaerobic or
aerobic bioremediation. Based on these removal actions and studies, the sources and extent of
the remaining contamination in soil and groundwater have been well characterized (Navy, 2010).

4.2.3.2 Human Health Risk

A quantitative HHRA was completed for Parcels C and UC-2 as part of the 1997 RI (PRC et al.,
1997) and was updated in the 2008 FS (SulTech, 2008). Human health risks were characterized
separately for COCs and ROCs. The RODs for Parcels C and UC-2 (Navy, 2010, 2009,
respectively) identified the following unacceptable human health risks from nonradiological
chemicals (Table 4-1):

e Future industrial users from exposure to metals, VOCs, and SVOCs in surface (0 to 2 feet
bgs) and subsurface soil (0 to 10 feet bgs), and VOCs in groundwater (in A-aquifer through
the vapor intrusion to indoor air pathway)

e Future recreational users from exposure to metals and SVOCs in surface soil (0 to 2 feet bgs)

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e Future residents (adult and child) from exposure to metals, VOCs, SVOCs, pesticides, and
PCBs in surface (0 to 2 feet bgs) and subsurface soil (0 to 10 feet bgs); VOCs in A-aquifer
through the vapor intrusion to indoor air pathway; and metals, VOCs, SVOCs, and pesticides
in B-aquifer through domestic use (in RU-C5 only)

e Future construction workers from exposure to metals, SVOCs, and PCBs in subsurface soil
(0 to 10 feet bgs) and VOCs in groundwater (A-aquifer through direct exposure and VOCs in
trenches)

Table 4-2 presents ROCs from radiologically impacted buildings, storm drains, sanitary sewers,
and associated soil identified at Parcels C and UC-2 (Tetra Tech, 2008).

4.2.3.3 Ecological Risk

The Navy concluded in the RI (PRC et al., 1997) that limited viable habitat is available for
terrestrial wildlife at Parcel C because most of the site is covered with pavement and most of the
terrestrial component of the shoreline at Parcel C is paved. The tidal area associated with the
shoreline is associated with Parcel F. Therefore, ecological risk associated with exposure to soil
was not evaluated further in the FS.

The Navy completed a screening evaluation of surface water quality to assess potential
exposure by aquatic wildlife to groundwater as it interacts with the surface water of San
Francisco Bay. Results of the screening evaluation indicated two metals (chromium VI and zinc)
in groundwater may pose a potential risk to aquatic wildlife. However, groundwater monitoring
data indicate metals migrate at a much slower rate than groundwater flows; thus, discharge of
metals to the bay is not imminent. Table 4-1 presents chemicals of ecological concern (COECs)
and TLs. It is necessary to monitor affected areas to determine whether the plume is migrating
and whether it will discharge to the bay at concentrations that exceed surface water criteria.

No COECs were identified in UC-2 groundwater.

4.3 Remedial Action Objectives
In 2009, the Navy divided Parcel C into two new parcels: Parcels C and UC-2.

The ROD for Parcel C was signed on September 30, 2010 (Navy, 2010), and an ESD to modify
removal action boundaries was signed in October 2014 (Navy, 2014). Table 4-3 summarizes
the basis for action, reasonably anticipated land use, RAOs, remedy components, performance
metrics, and expected outcomes for Parcel C. The presence of VOCs in groundwater and soil
may contribute to the presence of VOC in soil gas; therefore, the vapor intrusion pathway is
included as a basis for action and development of RAOs.

The ROD for Parcel UC-2 was signed on December 17, 2009 (Navy, 2009). Table 4-4
summarizes the basis for action, reasonably anticipated land use, RAOs, remedy components,
performance metrics, and expected outcomes for Parcel UC-2. One overall remedy was
selected for Parcels C and UC-2, but many actions in the overall remedy were not applicable to
Parcel UC-2; Table 4-4 presents only applicable components.

Tables 4-1 and 4-2 summarize the Navy-developed RGs to meet the RAOs for soil,
groundwater, and radiologically impacted media. The Navy also developed TLs for use in
monitoring concentrations of metals in groundwater, as summarized in Table 4-1, in the A-
aquifer for the protection of the environment. The TLs are conservative, and exceedance of a TL
does not necessarily indicate an immediate risk, given dilution and mixing with surface water;

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nonetheless, a potential for ecological risk was identified if the metals in groundwater discharge
undiluted to the bay.

4.4 Remedial Actions

4.4.1 Parcel C
The RA for Parcel C includes the following major components:

e Soil excavation and removal to address COC in soil

e Durable cover installation and maintenance to address COCs in soil
e SVE to address VOCs in soil gas

e In-situ treatment to address VOCs and metals in groundwater

e Groundwater monitoring, including in situ treatment performance monitoring, LTM of metals,
and MNA of VOCs

e Radiological surveys and remediation through soil excavation and removal of sanitary sewer
and storm drain lines and through decontamination (and demolition/dismantling if necessary)
buildings, structures, and former building sites

e ICs for soil, soil gas, and groundwater
Remedy components are shown on Figure 4-1, 4-2, and 4-3.

4.4.1.1 Remedy Implementation
Soil Excavation and Removal

An ESD was finalized in October 2014 documenting a change to the excavation boundaries
based on a tiered action level approach to remove the highest concentrations of COCs and
relying on durable covers and ICs to meet the soil RAOs (Navy, 2014). Between 2013 and 2015,
approximately 28,261 bank cubic yards (BCY) of contaminated soil was excavated from 18
excavation areas within Parcel C (RU-C1, C4, and C5 and Building 241) and disposed of offsite
(APTIM, 2018). Excavations were successfully completed to remove contaminated soil with
concentrations 5 to 10 times greater than the RGs in accordance with the Final RAWP (CB&l,
2013). Excavations were backfilled with clean fill.

Although excavations within RU-C2 were completed, achievement of RGs was not documented
(IGI, 2020); however, the excavated area is under durable cover as described in the following
section, thereby preventing current and future exposure to contaminated soil.

Additional Soil and Source Excavation

Additional areas of soil excavation were identified during preparation of the RAWP for
groundwater (ECC-Insight and CDM Smith, 2017). Pre-RA characterization was completed over
two mobilizations between November 2017 and July 2018, and identified several significant
changes to the RAWP, including the following:

e RU-C1: Based on groundwater concentrations in samples collected from monitoring well
IR28MW557A, which exhibited high concentrations of VOCs, the suspected source (sumps
within Building 253) was confirmed with the identification of dense nonaqueous phase liquid
(DNAPL) in the center of the former paint room (within Building 253); consequently,
excavation and removal of the sumps was not conducted (ECC-Insight, 2019). The Navy is

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evaluating options to treat the DNAPL source area at Building 253 and, subsequently, the
associated groundwater plume. This work is anticipated to begin in 2031.

e RU-C2: Soil concentrations in confirmation samples from excavation 20B-1 at Building 251
remained greater than RGs and are a continuing source to groundwater. However, further
excavation was not completed because pre-RA characterization activities indicated that the
lateral and vertical extent of COCs was greater than the ROD’s soil excavation limit of
10 feet bgs (Navy, 2009) and would require extensive shoring in Building 251 to complete.
The Navy is evaluating a revised approach to achieve soil RAOs and address a potential
ongoing source to A-aquifer groundwater (ECC-Insight, 2019). The investigation expected to
occur by Spring 2027.

e RU-C4: The Navy has initiated a study to evaluate the F-WBZ in the vicinity of elevated TCE
reported during Basewide groundwater monitoring. The investigation is expected to be
completed by Fall 2026.

Durable Cover Installation

The construction of durable covers began in June 2015 and was completed in May 2016.
Completion of the durable covers along with implementation of ICs, discussed in

Section 1.3.4.2, meets the RAOs for soil applicable to Parcel C. Response complete for soil is
documented in the RACR for durable covers remedy in Parcel C (TtEC, 2017c). Durable covers
consist of shoreline armoring; soil cover installation; asphalt cover installation, replacement, or
repairs; and building foundation repairs, as shown on Figure 4-2 and described as follows:

e Shoreline Armoring: Shoreline armoring was constructed along approximately 80 linear feet
of deteriorated seawall northeast of Building 231. Shoreline armoring included, from the
bottom up, filter fabric to prevent migration of soil to San Francisco Bay, a 6-inch minimum
layer of filter rock, and a 3-foot minimum layer of riprap to protect the fabric from
wave action.

e Soil Cover: A 2-foot-thick soil cover made up of clean imported soil was constructed on the
hillside in the northwestern corner of Parcel C (RU-C5). The soil cover includes surface
completions for monitoring wells.

e Asphalt Cover: The asphalt cover was constructed over the remaining areas of Parcel C.
Most of Parcel C was covered with degraded asphalt pavement before the RA, and the
existing asphalt pavement was repaired or replaced as needed to create a continuous intact
cover. Repaired areas were typically overlain with new asphaltic concrete to achieve a 2-
inch-thick cover. Asphalt replacement consisted of 4 inches of aggregate base course
overlain by 2 inches of asphaltic concrete. Drainage features, such as swales, catch basins,
and storm drain pipes, were incorporated into the asphalt cover to convey stormwater offsite
(TtEC, 2017c).

e Building Foundation Repairs: Building foundation repairs were completed by using a variety
of materials such as concrete, non-shrink grout, and asphaltic concrete, to prevent access to
underlying soil. Building foundations that could not be restored or repaired (for example,
historical buildings) were secured using a combination of steel plates, framed plywood walls,
wire mesh, or chain-link fence to prevent access. Access to soil under buildings through
crawlspaces and vaults was blocked with durable wire mesh or secured with steel ties.

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Soil Vapor Extraction and Monitoring

Construction and operation of five SVE systems to remediate 8 soil vapor areas within RU-C1,
RU-C4, and RU-C5 began in 2013 (Figure 4-3; APTIM, 2018). Each system includes a blower,
blower motor, main control panel, SVE wells, vapor monitoring wells, liquid/air separator,
transfer pump and liquid storage tank, conveyance piping and connection hoses, granular
activated carbon vessels, level switches, system interlocks and controls, and gauges. The
following is a summary of each system’s operation timeframe and cumulative VOC removal:

e Area 1 (RU-C4): Constructed and operated for 4 months in 2001; operated August 2014 to
February 2016, May 2016 to June 2017. Estimated cumulative removal was 3.9 pounds
(predominantly TCE).

e Area 2 (RU-C2): Constructed but not yet operated.

e Areas 3/4/5 (RU-C5): Constructed and operated for 5 months in 2001; operated August 2014
to December 2015. Areas 4 and 5 SVE system constructed in February 2016. SVE Areas
3/4/5 operated May 2016 to November 2016. Estimated cumulative removal was 1.95
pounds (predominantly tetrachloroethene [PCE] and TCE).

e Areas 6/7 (RU-C1): Constructed and operated for 3 months in 2001; operated August 2014
to July 2014, September to December 2015, and May 2016 to September 2016. Estimated
cumulative removal was 4.33 pounds (predominantly TCE).

e Area 8 (RU-C1): Constructed and operated for 4 months in 2001; operated August 2014 to
February 2016, and July to September 2016. Estimated cumulative removal was 23.21
pounds (predominantly PCE and TCE).

The evaluation of the VOC mass removed as a result of the SVE O&M in SVE Areas 1, %/5,
and 6/7 indicate that the SVE operation in Parcel C has reached points of diminishing return
and, in general, has had limited effectiveness in treating mass in soil due to the following
primary reasons:

e The shallow groundwater table (mostly less than 7 feet bgs in all areas and 2 feet bgs in
SVE Area 3) limits the effectiveness of the SVE system.

e Low SVE rates limited by low-permeability soil or sediment and water entrainment in the
SVE wells.

e RAs (groundwater treatment) in the vicinity of SVE areas are not yet complete and likely
contributing to the apparent ineffectiveness of SVE in reducing vapor concentrations to less
than SGALs.

The Navy is in the process of reviewing the strategy for addressing soil gas at all Parcel C areas
in conjunction with additional in situ groundwater remediation activities that are ongoing (ECC-
Insight and CDM Smith, 2019). The work plan for post-remediation soil gas surveys at Parcel C
is anticipated for spring 2029 and fieldwork is anticipated to begin between 2029 and 2030.

In Situ Groundwater Remediation

In situ groundwater remediation consists of treating COCs (VOCs or chromium VI) in A-aquifer
groundwater using ZVI or an injected biological substrate in the groundwater plumes at RU-C1,
RU-C2, RU-C4, and RU-C5. Target treatment area and subsequent performance metrics were
selected based on active treatment criteria (ATCs) developed in the FS (SulTech, 2008), ROD

(Navy, 2010), and RD (KCH, 2012). The groundwater ATCs and activities are as follows:

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e ZVI treatment to target hotspot areas where concentrations of PCE exceed 15 wg/L or
concentrations of TCE exceed 110 wg/L.

e Anaerobic in situ bioremediation (ISB) treatment targeted areas where VOCs exceed the RG
by factors ranging from 10 to 50 and where chromium VI exceeds RGs. Zinc was initially
targeted for active treatment but was documented not to be warranted based on pre-
remedial characterization sampling (APTIM, 2018).

e Aerobic ISB treatment will target areas where 1,4-dichlorobenzene is greater than 21 yg/L or
chlorobenzene is greater than 3,900 yg/L.

Between 2013 and 2017, groundwater remediation was conducted in chlorinated ethene and
chromium VI plumes within RU-C1, C4, and C5 (APTIM, 2018). Chlorinated ethene plumes
were treated in situ by direct injection of ZVI or an anaerobic organic substrate (sodium lactate)
with bioaugmentation (Dehalococcoides, specifically SDC-9). The chromium VI plumes were
treated using anaerobic ISB by injecting food-grade molasses as a substrate. Aerobic treatment
was completed by direct injection of an oxygen-releasing compound (PermeOx Ultra). The
following is a summary of the approximate injection totals:

e 206,183 pounds of ZVI was injected into 40 injection points.

e 123,503 gallons of diluted sodium lactate with SDC-9 culture was injected into 131 injection
points.

e 16,064 gallons of food-grade molasses and water were injected into 17 injection points.
e 5,975 pounds of PermeOx Ultra was injected into eight injection points.

Monitoring results showed that the concentrations of COCs in source areas were significantly
reduced by ZVI and anaerobic or aerobic ISB treatment activities in RU-C1, C4, and C5.
Post-injection monitoring is currently being conducted under the BGMP. Chromium VI was
successfully reduced by anaerobic bioremediation in target treatment areas within RU-C1 and
RU-C5 with concentrations remaining less than treatment goals through the end of the
performance monitoring period. Groundwater treatment minimized the potential for chromium VI
to migrate to the bay at concentrations greater than the surface water quality criteria

(APTIM, 2018).

In 2019, RU-C1 and RU-C2 were treated using a ZVI, Lactoil/WilclearPlus amendment mix;
249,120 pounds of ZVI and 1,130 gallons of Lactoil/WilclearPlus were injected. Bioaugmentation
with KB-1 (SIREM) culture was completed in RU-C2 (ECC-Insight and CDM Smith, 2021).
Performance monitoring is ongoing, and additional investigations and RAs are planned in

RU-C1 (DNAPL source investigation), RU-C2, RU-C4, and RU-C5 (IGI, 2020; Gilbane, 2022). In
September through December 2021, an RA was completed in RU-C4 to treat VOCs (IGI, 2020;
TRBW, 2022b).

Groundwater Monitoring

Groundwater monitoring is conducted under the BGMP and includes LTM, remedy performance
monitoring, and MNA, depending on the plume being monitored. Data evaluation and proposed
changes to the Parcel C BGMP sampling locations, analytical requirements, and sampling
frequency and approach have been presented in the Parcel C Remedial Action Monitoring
Reports (RAMRs) for review and concurrence by BCT before incorporation into the BGMP

(IGI, 2020).The Navy and the FFA regulatory parties are currently evaluating different
approaches to present future changes to Parcel C BGMP sampling locations, analytical

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requirements, and sampling frequency. Changes to which FFA regulatory parties have agreed in
writing will be implemented per the agreement before incorporation into the BGMP.
Performance monitoring is generally conducted for a Parcel C groundwater plume at
frequencies of 1, 3, 6, 9, and 12 months during the first year after in situ groundwater injections
and semiannually during the second year to obtain a minimum of seven data points for
evaluation. The following criteria are used to determine how a BGMP well is monitored and to
define key decision points:

e If COC concentration trend analyses of specific BGMP COC plume wells evaluated as part
of the Parcel C RAMR show stable, no trend, or declining COC concentration trends greater
than ATCs, then performance monitoring at that BGMP plume well will continue.

e If COC concentration trend analyses of specific BGMP COC plume wells evaluated as part
of the Parcel C RAMR show stable or declining COC concentration trends greater than RGs
(but less than ATCs), then the MNA monitoring period will ensue until RGs are met.

e If statistical data demonstrate that concentrations are less than RGs following the minimum 2
years of performance monitoring and 1 year of MNA monitoring, closure of the plume will be
initiated, with BCT review and concurrence.

e If COC concentration trend analyses of specific BGMP COC plume wells evaluated as part
of the Parcel C RAMR show stable, no trend, or increasing COC concentration trends
greater than ATCs, then performance monitoring at that BGMP plume well will continue and
the Navy will consider further active treatment.

As a result, the number of monitoring wells sampled during each monitoring event can fluctuate
based on data and recommendations from BCT. Annual and semiannual groundwater
monitoring reports from 2019 through 2022 were also reviewed (TRBW, 2020b, 2020c, 2022a,
2022b, 2023b). Appendix E presents exceedances of the RGs (identified as PALs) and the
ATCs from 2019, 2020, 2021, and 2022.

Figures 4-4 through 4-7 present groundwater concentrations from the 2021 annual monitoring.
The following is a summary of the most recent (2022) groundwater monitoring results by RU and
plume at Parcel C and the RAMR evaluating the 2021 data (IGI, 2023).

RU-C1 (Figure 4-4)

e Plume RU-C1-1 is currently undergoing performance monitoring for ISB and ZVI injections
that were completed in May 2019 to treat VOCs. Benzene, PCE, TCE, and VC consistently
exceeded RGs from 2019 to 2022, and benzene, VC, and PCE exceeded the ATCs during
one or more rounds of sampling. Six A-aquifer monitoring wells were sampled in March and
September 2022. Benzene, PCE, TCE, and VC exceeded RGs in March and benzene and
PCE exceeded the RGs in September. PCE also exceeded ATC in March but not in
September. Performance monitoring is expected to continue until data are statistically less
than ATCs. Based on data up to December 2021 PCE data is statistically higher than the
ATC; however, statistical trends indicate it is probably decreasing (IGI, 2023). Conditions are
generally conducive to anaerobic degradation indicated by depleted dissolved oxygen (that
is, less than 1 milligram per liter), presence of dissolved redox-sensitive metals (iron and
manganese), and methane. The presence of ethene or ethane also indicates that complete
biotic or abiotic degradation is occurring (IGI, 2023).

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Plume RU-C1-2 is currently undergoing MNA for VOCs (PCE and degradation products
TCE, cis-1,2-dichloroethene [cis-1,2-DCE], and VC). PCE has sporadically exceeded the RG
in one location throughout the monitoring period and benzene exceeded the RG during the
January through June sampling periods of 2019 and 2020. Five A-aquifer monitoring wells
were sampled in March 2022 with only benzene exceeding the RG. Five A-aquifer
monitoring wells were sampled in September 2022, and there were no exceedances of RGs.
There were no exceedances of ATCs during this monitoring period. MNA parameters
indicate moderate to high potential for anaerobic attenuation of COCs. Statistical evaluation
indicates that PCE (no trend) and benzene (stable trend) have UCLs that exceed the RG at
one well each. MNA will continue until statistical data demonstrate that concentrations are
less than RGs, at which time plume closure may be initiated with BCT review and
concurrence (IGI, 2023).

Plume RU-C1-3 is currently undergoing performance monitoring for ISB and ZVI injections
that were completed in 2016 to treat VOCs. Additional characterization in 2017 to 2018
indicated the presence of DNAPL and light nonaqueous phase liquid (LNAPL) source under
the paint room and sumps in Building 253, in the southern portion of RU-C1-3. Eight
A-aquifer monitoring wells were sampled in both March and September 2022, and several
VOCs (1,1,2,2-tetrachloroethane, 1,1-dichloroethane, 1,2,4-trimethylbenzene, 1,2-DCE
1,3,5-trimethylbenzene, cis-1,2-DCE, benzene, isopropylbenzene, naphthalene, PCE, TCE,
and VC) exceeded RGs at one or more locations during 2019, 2020, 2021 and 2022 events,
and 1,2-DCE, benzene, and VC exceeded ATCs in 2022. Non-aqueous phase liquid (NAPL)
has also been observed in IR28MW557A, and concentrations are greatest in samples
collected from that location (Appendix E and Figure 4-4). Performance monitoring will
continue and the Navy is planning to address the DNAPL source area and dissolved
groundwater plume (IGI, 2023).

RU-C1-4 was sampled in March and September 2022 (three A-aquifer monitoring wells just
south of Dry Dock 2: IR28MW561A, IR28MW125A, and IR28MW562A) for chromium VI.
Monitoring was discontinued in 2020 after the UCL of the mean for all COCs was less than
RGs but was added back to the BGMP in September 2021 based on discussions between
regulatory agencies and the Navy. Chromium VI was not detected in any monitoring wells
and has not exceeded the RG of 50 ug/L since February 2014 (TRBW, 2023).

RU-C2 (Figure 4-5)

Plume RU-C2-1 is currently undergoing performance monitoring for ISB completed in 2013
to treat VOCs. Eleven monitoring wells in both the A- and B-aquifer were sampled in 2022. In
the A-aquifer, PCE, TCE, 1,4-dichlorobenzene, benzene, chlorobenzene, chloroform, and
VC exceeded RGs at one or more samples during one or more sampling events during the
review period. PCE, benzene, chloroform, and VC exceeded ATCs at one or more locations
during one or more sampling events during this review period (2019-2022). Data indicate
that degradation is occurring and conditions are favorable for continued degradation (IGI,
2023). Performance monitoring will continue because the criteria for MNA have not been met
and additional RAs are planned for the RU-C2-1 plume (Gilbane, 2022). Adding sampling of
a downgradient well, IR28MW398A, to the BGMP was recommended (IGI, 2023).

Monitoring in the B-aquifer was discontinued in September 2020 because there were no
RAOs for the B-aquifer in the ROD because of the beneficial reuse exemption discussed in
Section 1.3.4.2 (Navy, 2010); however, after concerns were raised by the USEPA and
Regional Water Board in July 2021 (USEPA and Regional Water Board, 2021), B-aquifer

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monitoring was reinstated. PCE was the most widely detected chemical in the B-aquifer with
concentrations ranging from 15 to 270 yg/L (less than 100 times the federal MCL of 5 pg/L)
in 2022. TCE, vinyl chloride, and benzene were detected in B-aquifer samples at
concentrations within 1 to 10 times their respective MCLs (IGI, 2023).

Plume RU-C2-2 is currently undergoing MNA for VOCs. Monitoring wells in both the A- and
B-aquifer are sampled. PCE, carbon tetrachloride, and chloroform have exceeded the RGs
and ATCs at one or more location during this review period (2019 to 2022). PCE was the
only VOC to exceed the RG in a single well during both sampling events in 2022
(RUC2MW11A). A review of MNA geochemical parameters indicated that conditions within
the ISB treatment area are generally moderately conducive to anaerobic degradation. In
2021, the UCL of the mean of chloroform and carbon tetrachloride were below the RG with
the exception of one location. However, PCE began exceeding the RG sporadically and was
added to the statistical evaluation for the plume in 2021 (IGI, 2021) and exhibits an
increasing trend using data through September 2021 (IGI, 2023). MNA will continue until
criteria for plume closure have been met.

Plume RU-C2-3 is currently undergoing performance monitoring for ISB and ZVI injections
conducted in May 2019 for VOCs (primarily chloroform, TCE, and carbon tetrachloride).
Monitoring wells in fractured bedrock and the A-aquifer are sampled and
1,4-dichlorobenzene, benzene, carbon tetrachloride, chloroform, TCE, and VC in
groundwater exceeded RGs, and carbon tetrachloride, chloroform, and VC exceeded ATCs
in one or more locations in March and September 2022. Conditions were considered
generally favorable for anaerobic degradation (IGI, 2023). Statistical evaluation of the data
indicates that multiple carbon tetrachloride, benzene, and 1,4-dichlorobenzene are
increasing in one or more locations. Notably, carbon tetrachloride (increasing trend) and
chloroform (stable trend) UCL data from downgradient well IR28MW940F continues to
exceed ATCs. The Navy intends to prepare a RAWP to implement additional phases of
remediation to address persistent chlorinated methane concentrations above ATCs in the
vicinity of IR28MWS940F. Performance monitoring will continue until conditions for MNA have
been met.

RU-C4 (Figure 4-6)

Plume RU-C4-1 is the only groundwater plume in RU-C4 and is currently undergoing
performance monitoring for ISB and ZVI injections completed in September through
December 2021 to treat VOCs (primarily PCE and degradation products). Groundwater
samples were collected from 6 monitoring wells in March 2022, 19 monitoring wells in
September 2022, and 12 monitoring wells in December 2022. All monitoring wells were in
the A-aquifer except IR28MW272F, which is in the F-WBZ. In 2022, 1,2-dichloroethane, 1,4-
dichlorobenzene, benzene, chloroform, cis-1,2-DCE, TCE, and VC exceeded the RGs in one
or more locations. TCE and VC exceeded ATCs in 2019, 2020, and 2022, but there were no
exceedances of ATCs in 2021; however, the BGMP did not include wells within the RA
treatment area in 2021 Performance monitoring is underway.

RU-C5 (Figure 4-7)

Plume RU-C5-1 is currently undergoing performance monitoring for ISB and ZVI injections
completed in 2014 and 2016 to treat VOCs. Seven A-aquifer monitoring wells are sampled
for VOCs and MNA parameters. Several VOCs (1,1-dichloroethane, 1,2-DCE, benzene,
cis-1,2-DCE, PCE, TCE, and VC) exceeded their RGs, and PCE, TCE, and VC exceeded
their ATCs in one or more location and events during this review period. Samples collected

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at IRO6MW6/7A consistently exhibit the highest concentrations and statistical evaluation
indicates COC concentrations are stable, no trend, or increasing/probably increasing.
Conditions are favorable for MNA and presence of increasing concentrations of degradation
products indicate that biodegradation is occurring (IGI, 2023). Performance monitoring will
continue, and additional RA is planned to address persistent COCs greater than ATCs in the
IRO6MW67A area (Gilbane, 2022; IGI, 2023).

e Plume RU-C5-2 was sampled in September 2021 for chromium VI. Like plume RU-C1-4,
sampling at RU-C5-2 was discontinued because conditions for plume closure were met;
however, sampling three fractured bedrock monitoring wells (IRO6MW68F, IRO6MW69F, and
IRO6MW70FR) was added back into the BGMP based on discussions between the agencies
and the Navy. Chromium VI was reported at a concentration of 40.2 g/L, less than the TL of
50 yg/L, in September 2021 and was not detected in March or September 2022. Chromium
VI has historically been detected in RU-C5-2 at concentrations less than the TL since the
wells were incorporated into the BGMP in 2015 (TRBW, 2023).

e Plume RU-C5-3 is currently undergoing performance monitoring for aerobic ISB injections
completed in February 2016 to address VOCs (primarily naphthalene). Samples are
collected from three A-aquifer monitoring wells and analyzed for VOCs, chromium VI, and
MNA parameters. Naphthalene has consistently exceeded the RG in one location
(IRO6MW42A) during all sampling events during this review period. Chromium VI was not
detected in groundwater during any events during this review period. There were no
exceedances of ATCs during this review period, but statistical evaluation in the 2021 RAMR
indicated the UCL of naphthalene exceeded the ATC. Conditions have transitioned from
being favorable for aerobic degradation in 2019 to anaerobic in 2020 (unfavorable for
naphthalene degradation), and naphthalene is stable based on statistical evaluation (IGI,
2023). Performance monitoring will continue, and an additional RA is planned to address
persistent naphthalene greater than the ATC (Gilbane, 2022).

e Plume RU-C5-4 is currently undergoing performance monitoring for ISB and ZVI injections
completed in January to February 2016 to address VOCs. Four A-aquifer monitoring wells
are sampled for VOCs and MNA parameters. Benzene and VC exceeded their RGs but not
ATCs during this review period. MNA parameters indicate conditions are favorable for
anaerobic bioremediation (IGI, 2023). Statistical evaluation completed on 2021 and earlier
data indicated that the UCL for VC continued to exceed the ATC, so performance monitoring
continued through 2021. Continued performance monitoring was recommended in the Fall
2021 RAMR (IGI, 2023).

e Plume RU-C5-5 is currently undergoing performance monitoring for aerobic ISB completed
in February 2016 and an additional RA in 2021 to address VOCs (primarily chlorinated
benzenes). In 2022, three monitoring wells were sampled in March, five different monitoring
wells were sampled in June, and all eight were sampled in September. Eight VOCs (1,2-
dichloroethane, 1,4-dichlorobenzene, benzene, chlorobenzene, naphthalene, PCE, TCE,
and VC) exceeded their respective RGs, and 1,4-dichlorobenzene, benzene, and
chlorobenzene exceeded their ATCs in 2022. Performance monitoring for the 2021 RA is
currently underway. Visual trends for source area monitoring well concentrations generally
indicate that while some COCs initially decreased in concentration immediately after the
2021 RA, most have rebounded, and some have increased above concentrations before the
RA. The need for additional RAs will be evaluated based on the decision criteria established
in the RAMP.

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Radiological Surveys and Remediation

ROCs suspected to be present at Parcel C include potassium-40 (K-40), Co-60, Sr-90, Cs-137,
Ra-226, thorium-232 (Th-232), and Pu-239. The following buildings at Parcel C were designated
as radiologically impacted: Buildings 203, 205 and discharge tunnel, 211, 214, 224, 241, 253,
271, and 272. The Navy conducted a TCRA at Parcel C to address potential radioactive
contamination in storm drains and sanitary sewer lines and radiologically impacted structures
(TtEC, 2016, 2017b). In total, 67,596 cubic yards of soil was excavated during removal of
31,190 linear feet of sanitary sewer and storm drain lines. Approximately 6,641 cubic yards of
soil was disposed of offsite as LLRW based on surface scan and analytical laboratory results.
Additional characterization surveys of the sanitary sewer lines and storm drains withing the
Parcel C Historic District were also performed (APTIM, 2020). Additionally, FSSs were
performed at six radiologically impacted buildings (Buildings 203, 214, 224, 241, 271, and 272)
and radiologically impacted sites (North Pier and Ship Berths 1 to 5) (TtEC, 2016, 2017a,
2017b). Additional surveys are planned at three radiologically impacted buildings (Buildings 211,
253, and the discharge channel at Building 205) (TtEC, 2017b).

The TCRA data were reviewed as described in Section 1.4.3, and radiological retesting,
including sampling and surveys of soils previously investigated during sanitary sewer line storm
drain removal and resurvey of impacted buildings and former building sites, is currently being
conducted to determine if current site conditions are compliant with the RAOs.

Institutional Controls

The entire area of Parcel C (73 acres) is subject to soil, soil gas, and groundwater ICs. IC
performance objectives were developed and presented in the ROD (Navy, 2010) and LUC RD
(Appendix B of KCH, 2012). Table 1-3 summarizes the IC performance objectives to be
implemented through land use restrictions for the site.

4.4.1.2: Remedy Operations and Maintenance

Ongoing O&M at Parcel C includes maintaining the integrity of the durable covers and IC
inspections. The inspection and maintenance requirements for the durable covers are described
in the Final O&M Plan for Parcel C (Navy, 2017). AOMSRs are prepared to summarize
inspections and maintenance performed and to document the effectiveness of the remedy
components. AOMSRs from 2019, 2020, 2021, and 2022 were reviewed (Innovex-ERRG Joint
Venture, 2020, 2021; APTIM, 2022, 2023).

Durable Cover Maintenance

The shoreline armoring was determined to be in good condition. No signs of vegetation or trash,
pests, excessive vehicle traffic, settlement or movement, wave overtopping, or scouring
were found.

Annual inspections found the soil cover to be in good condition, with no signs of settling, slope
failure, cracking, soil movement, erosion, or burrowing pests. Vegetation growth was well
established over the soil cover, with no bare areas observed.

The asphalt cover was generally in good condition with the exception of the eastern portion of
Parcel C where subsidence areas greater than 4 feet deep were found at several locations. Two
areas of previous repair were heavily deteriorated and formed major subsidence areas (7 feet
wide by 25 feet long by 6 feet deep and 6 feet wide by 20 feet long by 7 feet deep). A 7-foot-
deep void observed along the pier edge that allowed water to wash in and out with the tide may
have contributed to the subsidence. The subsidence areas were repaired. Subsidence was

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noted near Buildings 205, 207, and 208 between Dry Dock 2 and Dry Dock 3 that required
extensive repairs outside of routine O&M, and 100 feet of permanent chain-link fence was
installed across Building 208 to secure the end of the pier. Minor subsidence areas (less than
4 feet deep) were observed during the 2022 inspection; however, repairs were not
recommended until the completion of radiological retesting in the area to minimize generating
waste and rework. The Navy is currently conducting a shoreline assessment study to identify
and recommend repairs and/or stabilization of structures and shoreline.

Building foundations were generally in good condition, and any cracks or potholes were repaired
during routine O&M activities.

Institutional Control Compliance

ICs are inspected annually, and no deficiencies or inconsistent uses were observed during the
review. General site conditions were determined to be good. Remedy components, such as
survey benchmarks and monitoring well vault covers, were found to be in good conditions.

The Navy controls access to the parcel using security fencing, signage, locks, and gates, which
were found to be in good condition. However, during the September 2021 inspection, the metal
hasp on a door that secures Building 367 was found broken during the annual inspection. The
door was re-secured on Building 367 to prevent unauthorized access (APTIM, 2022).

4.4.2 Parcel UC-2
The RA for Parcel UC-2 includes the following major components:

e Durable cover installation and maintenance to address COCs in soil

e Radiological surveys and remediation through soil excavation and removal of sanitary sewer
and storm drain lines

e LTM of groundwater for COCs
e ICs for VOCs
Figures 4-1, 4-2, and 4-7 show remedy components.

4.4.2.1 Remedy Implementation
Durable Cover Installation

Durable covers were constructed between May 14, 2012, and September 18, 2012. Completion
of the durable covers along with ICs, as discussed in Section 1.3.4.2, meets the RAOs for soil
in Parcel UC-2. Response complete is documented in the RACR for Parcels UC-1 and UC-2
(ERRG, 2013). The RA includes installation and repair of durable covers, including soil covers,
asphalt covers, and building foundations, to minimize exposure of humans and wildlife to
potential COCs in underlying soil, as shown on Figure 4-8 and described as follows:

e Soil Cover: A 2-foot-thick soil cover made up of clean imported fill was installed over
previously vegetated areas by removing 2 feet of existing soil so that the surface of the
newly installed cover matched historical site grades. Live beach strawberry, California
poppy, and summer lupine plants were then hand-planted across the entire soil cover to
provide future slope stability and aesthetic appeal.

e Asphalt Covers: An 8-inch asphalt cover, with a minimum of 4 inches of asphalt concrete
and 4 inches of aggregate base, was installed. Existing AC covers that were in good
condition were left in place and incorporated into the final AC cover. Degraded existing AC

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covers were repaired by removing and replacing one or more of the following: AC cover,
aggregate base, or subbase material, depending on the level of degradation. AC covers with
minor cracking were repaired by applying an asphalt seal to fill the cracks.

e Restored Building Foundations: Concrete building foundations and sidewalks were
restored and incorporated into the durable cover, and cracks and penetrations were filled
with non-shrink grout.

Radiological Surveys and Remediation

The ROPCs at Parcels UC-2 include Cs-137, Ra-226, and Sr-90, and are associated with
sanitary sewer lines and storm drain lines (Navy, 2009). The Navy conducted TCRAs at

Parcel UC-2 to address potential radioactive contamination in storm drains and sanitary sewer
lines at Parcels UC-1 (adjacent to Parcel UC-2) and UC-2 (ChaduxTt, 2010a; TtEC, 2011). In
total, approximately 20,680 cubic yards of soil was excavated during removal of approximately
6,407 linear feet of sanitary sewer and storm drain lines. Approximately 1,138 cubic yards of soil
was disposed of offsite as LLRW based on surface scan and analytical laboratory results.
TCRAs for radionuclides were completed, and the radiological RGs established in the ROD for
Parcel UC-2 were presumed to be met (Navy, 2009).

The TCRA data were reviewed, as described in Section 1.4.3, and radiological retesting,
including sampling and surveys of soils previously investigated during sanitary sewer line storm
drain removal and resurvey of impacted buildings and former building sites, is currently being
conducted to determine if current site conditions are compliant with the RAOs.

Groundwater LTM

Groundwater monitoring at Parcel UC-2 is conducted under the BGMP. Annual and semiannual
groundwater monitoring reports from 2019 through 2022 were reviewed (TRBW, 2020b, 2020c,
2021, 2022a, 2022b, 2023) Appendix E presents exceedances of RGs (identified as PALs)
from 2019, 2020, 2021, and 2022.

Two groundwater monitoring wells are sampled semiannually for VOCs. Carbon tetrachloride
and chloroform consistently exceed the RGs; however, during 2022, carbon tetrachloride was
the only COC that exceeded the RG. Concentrations of carbon tetrachloride are generally within
1 order of magnitude of the RG (0.5 wg/L), and concentrations of chloroform are generally the
same order of magnitude as the RG (1 wg/L). No RA for groundwater treatment is required at
this time. Ownership of Parcel UC-2 has been transferred to the City of San Francisco and is no
longer Navy property; however, sampling of the monitoring wells is still included in the BGMP.

Institutional Controls

The entire area of Parcel UC-2 (3.9 acres) is subject to soil and groundwater ICs. IC
performance objectives were developed and presented in the ROD (Navy, 2009) and LUC RD
(ChaduxTt, 2010b). A portion of Parcel UC-2 located adjacent to Parcel UC-1, is also subjected
to ARICs for VOCs. Table 1-3 summarizes the IC performance objectives to be implemented
through land use restrictions for the site. The ICs are currently being enforced through a
Covenant to Restrict Use of Property recorded on September 16, 2015 (Navy, 2015).

4.4.2.2 Remedy Operations and Maintenance

Ongoing O&M at Parcel UC-2 is the responsibility of the City and County of San Francisco
OCIl’s contractor in accordance with the approved Risk Management Plan (Geosyntec, 2019)
and O&M Plan (Navy, 2013). Annual reports from the City and County of San Francisco’s OCI

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contractor summarizing durable cover O&M and IC inspections were reviewed (Geosyntec-
Albion Joint Association, 2020, 2021, 2022).

Durable Cover Maintenance

Minor settling was observed during the 2021 inspection, and evidence of burrowing pests within
the soil cover were observed during the 2020 and 2021 inspections. Repairs were conducted in
October 2020, December 2021, and January 2022. Vegetation in the soil cover is in good
condition.

In general, the durable cover was found in good condition with minor crack and pothole repairs
completed during O&M. An area in Parcel UC-2, the Hunters Point Artists Parcel, was
scheduled for redevelopment, resulting in removal of the durable cover in the area in October
2017. Construction was put on hold indefinitely in June 2018, leaving a portion of the durable
cover missing. The area is secured with a chain-link fence surrounding the uncovered area and
is treated with tackifier annually for dust control. A Notice of Termination for the Hunters Point
Artists Parcel project was submitted to the State Water Boards Stormwater Multiple Applications
and Report Tracking System in August 2020.

Institutional Controls Compliance
No deficiencies or inconsistent uses were observed during the review period.

4.4.3 Progress Since the Fourth Five-Year Review

Table 4-5 summarizes issues, recommendations, and follow-up actions from the Fourth Five-
Year Review.

4.5 Technical Assessment

4.5.1 Question A: Is the Remedy Functioning as Intended by the Decision
Document?

4.5.1.1 ParcelC

Yes. Based on the review of historical documents, annual O&M inspections, and the Five-Year
Review inspection, the remedy at Parcel C is functioning as intended.

Soil hotspot areas were removed through excavation and offsite disposal and additional hot spot
removal is planned to address deeper than anticipated chemicals at Building 251. Exposure
pathways that could result in an unacceptable risk are being controlled through durable covers
and ICs. The shoreline revetment, soil cover, and asphalt cover are in good condition, and any
minor issues have been repaired. Areas needing repair outside of typical O&M are secured to
prevent access. Although the SVE soil remedy did not function as well as intended, the SVE
technology was intended to remove source-level concentrations and meet RAOs through other
remedy components. Short-term protectiveness is achieved because ICs are in place to ensure
current and future exposures through the vapor intrusion pathway do not occur. Groundwater
remediation and MNA/LTM are ongoing, and ICs prevent exposure to groundwater while
treatment is ongoing. Radiological concerns are addressed through previous radiological
surveys and remediation of soil and building structures, and radiological retesting is being
conducted to confirm that the RAO has been met, with the goal of unrestricted closure.
Radiological retesting is underway.

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4.5.1.2. Parcel UC-2

Yes. Based on the review of historical documents, annual O&M inspections, and the Five-Year
Review inspection, the remedy at Parcel UC-2 is functioning as intended.

Exposure pathways that could result in an unacceptable risk are being controlled through
durable covers and ICs. Groundwater monitoring is ongoing, and ICs prevent exposure to
groundwater until that time. The soil and asphalt covers are in good condition, and any minor
issues have been repaired. Radiological concerns are addressed through previous radiological
surveys and remediation of soil and building structures, and radiological retesting is being
conducted to confirm that the RAO has been met, with the goal of unrestricted closure.
Radiological retesting is planned for 2023.

4.5.2 Question B: Are the Exposure Assumptions, Toxicity Data, Cleanup
Levels, and Remedial Action Objectives Used at the Time of the
Remedy Selection Still Valid?

Uncertain. Based on the results of the ARAR evaluation, HHRA analysis, and ERA analysis
discussed in the following sections, the exposure assumptions, toxicity data, cleanup levels, and
RAOs used at the time of remedy selection are still valid for soil and A-aquifer groundwater.
Although there have been some changes to toxicity values and risk assessment methods, these
changes do not affect remedy protectiveness for soil and A-aquifer groundwater. However,
chemicals were identified in the B-aquifer and F-WBZ groundwater that require additional
investigation to determine if the exposure assumptions, toxicity data, cleanup levels, and RAOs
at the time of remedy selection remain valid for these groundwater zones.

4.5.2.1 ARAR Evaluation

The Navy evaluated the ARARs established in the RODs and ESD for Parcel C and

Parcel UC-2. No changes to location-specific or action-specific ARARs that would affect the
protectiveness of the remedies were identified. Changes to chemical-specific ARARs for
individual chemicals are discussed in the following HHRA and ERA Analysis sections.

In 2021, California Public Resources Code Division 20.6.5, California Sea Level Rise Mitigation
and Adaptation Act of 2021, was passed; however, no regulations have been promulgated to
implement the act. The Navy is addressing SLR, as discussed in Section 1.4.2, of this Five-
Year Review.

4.5.2.2 HHRA Analysis

As Section 3.5.2.1 notes, in 2018, the State of California promulgated the TCR. However, the
Navy continues to view the values identified in the USEPA IRIS database (a Tier 1 value) as the
primary source of toxicity factors for risk-related calculations. The HHRA evaluation was
conducted by comparing the human health RGs from the ROD with current risk-based criteria
based on the same exposure scenario and ARARs, if available. Response complete for soil was
achieved with excavation, durable cover construction and maintenance, and ICs as documented
in the respective RACRs for Parcels C and UC-2 (TtEC, 2017c; ERRG, 2013). Therefore, any
changes in exposure assumptions and toxicity data would not affect protectiveness of the
remedy.

Table 4-6 shows the RGs and current comparison criteria for groundwater. The RGs for the

groundwater COCs included in the ROD were based on consideration of exposure scenario-

specific (residential or industrial vapor intrusion and construction worker trench exposure [A-
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aquifer], or residential domestic use [B-aquifer in RU-C5 only]), risk-based concentrations
(based on a cancer risk of 10° or a noncancer hazard index of 1); laboratory PQLs; chemical-
specific ARARs; and HGALs. RGs were compared with the following current comparison criteria
(USEPA, 2022a):

e A-aquifer Groundwater: VISLs calculated using the current USEPA VISL calculator for the
residential and commercial scenarios.

e B-aquifer Groundwater: Current USEPA tapwater RSLs, California MCLs, and
USEPA MCLs.

For groundwater, there are a few cases where a current risk-based concentration (VISL or RSL)
is less than a risk-based RG (or the PQL or HGALs) from the ROD (Table 4-6). Although current
risk-based levels for some chemicals are lower than the RGs, the ICs that are currently in place
and the durable cover across the site prevent exposure to site media; therefore, the remedy
remains protective. There may be changes with HHRA analysis for the construction worker
scenario. Changes in exposure parameter values would likely only result in a small change to
HHRA results since standard construction worker exposure factors have not changed
significantly since the RI was prepared (not orders of magnitude). The following construction
worker exposure parameter values have changed since the original HHRA was prepared:

e The construction worker body weight used in the HHRA was 70 kilograms; however, the
adult body weight used in HHRAs based on current USEPA guidance (USEPA, 2014) would
be 80 kilograms.

e The skin surface area for a construction worker exposed to soil used in the HHRA was
5,700 cm?; however, based on current USEPA guidance (USEPA, 2014), a construction
worker skin surface area exposed to soil is 3,527 cm?.

e The soil-to-skin adherence factor used in the HHRA for a construction worker was
0.8 milligram per cm2, where the soil-to-skin adherence factor for a construction worker used
in a current HHRA would be 0.3 milligram per cm? (the 95th percentile adherence factor for
construction workers [USEPA, 2004)).

e The skin surface area for exposure to groundwater used in the HHRA was 2,370 cm2. A
current HHRA would use a skin surface area of 6,032 cm? (the weighted average of mean
values for head, hands, forearms, and lower legs [USEPA, 201 1)).

e Additionally, for inhalation exposures for both groundwater and soil, inhalation toxicity values
are now presented and used in milligram(s) per cubic meter (noncancer) or 1 microgram per
cubic meter for cancer; therefore, the intake equations no longer incorporate inhalation rate.

Toxicity values could result in larger changes (potential orders of magnitude changes), such as
for TCE, for which toxicity values were updated in 2009 after the initial HHRA was

completed. However, those changes will not affect the RGs for the construction worker scenario
identified in the ROD because ICs require identification and management of potential risks to
construction workers through the preparation and approval of plans and specifications for all
construction activities that may pose unacceptable exposure to construction workers. There
have been no changes in current exposure pathways based on the site controls, or changes in
planned future site use since the ROD that would change the protectiveness of the current
remedy.

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Radiological Risk Review

In October 2020, after the preparation of the Five-Year Review addenda, USEPA introduced a
PRG calculation method called “Peak PRG,” which computes PRGs accounting for ingrowth and
decay of progeny over time. An evaluation was performed for this Five-Year Review to assess
whether this change affected the continued protectiveness of the current soil RGs for future
residents. Exposure calculations were performed using the USEPA PRG Calculator (USEPA,
2022b). For this soil evaluation, the estimated excess cancer risk was calculated using the
“Peak Risk” time interval of 1,000 years (Navy, 2020). The soil RGs were used as exposure
point concentrations, and the cumulative cancer risk was calculated as the sum of risks from all
ROCs. Appendix F presents the calculated estimated excess cancer risks from this evaluation
and the supporting data. Under CERCLA, cleanup goals are considered protective if excess
cancer risks from site exposures remain within the 10+ to 10 range. Based on the findings of
this evaluation, the soil RGs are within this range and continue to be protective for future
residential exposures.

There were no changes to the risk assessment methods related to structures or buildings for
radiological concerns since the last Five-Year Review.

4.5.2.3 ERA Analysis

Table 4-7 presents groundwater COCs with a summary of TLs and current surface water quality
criteria. Groundwater data were compared with surface water screening levels to evaluate
potential for risk to aquatic organisms in San Francisco Bay. The evaluation of groundwater was
very conservative because it was assumed that aquatic receptors would have direct exposure to
chemicals in groundwater at their measured concentrations.

Chromium VI and zinc were retained for ongoing monitoring. Concentrations of chromium VI
were successfully reduced by anaerobic bioremediation in target treatment areas within RU-C1
and RU-C5, with concentrations remaining less than treatment goals through the end of the
performance monitoring period. Groundwater treatment minimized the potential for chromium VI
to migrate to the bay at concentrations greater than the surface water quality criteria. The
chronic marine NRWQC (USEPA, 2023) for each metal was set as the TL. These values have
not changed since the FS and ROD were completed. The TLs remain current and protective of
surface water exposures for aquatic organisms. Surface water TLs are for monitoring purposes
only because surface water benchmarks are not ARARs for ecological exposures to
groundwater.

4.5.3 Question C: Has Any Other Information Come to Light that Could
Question the Protectiveness of the Remedy?

Yes. The following information has come to light that could question the protectiveness of the
remedy:

e There have been detections of COCs from A-aquifer groundwater within the B-aquifer and F-
WBZ groundwater and the connection and communication between hydrogeologic units
within Parcel C is not fully understood. Therefore, further characterization of the Deep F-
WBZ in RU-C4 and the B-aquifer and Upper F-WBZ in RU-C2 are required to demonstrate
that remedies within the A-aquifer will be effective and not re-contaminated by COCs within
the B-aquifer and F-WBZ and unacceptable discharges to the Bay are not and will not occur.

e As identified in the Fourth Five-Year Review, there is uncertainty with a portion of the
radiological survey and remediation work. The Navy is in the process of implementing

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corrective actions to ensure the radiological remedies specified in the decision documents
were implemented as intended; however, this work is ongoing. Radiological retesting is
currently being conducted at Parcels C and UC-2; long-term protectiveness will be confirmed
upon completion.

4.6 Issues, Recommendations, and Follow-up Actions

Table 4-8 summarizes the issues, recommendations, and follow-up actions identified for
Parcels C and UC-2.

4.6.1 Other Findings

The following findings were identified that do not directly relate to achieving or maintaining
remedy protectiveness but are relevant to overall site management.

4.6.1.1 PFAS

As discussed in Section 1.4.1, a Basewide PA was conducted to identify potential PFAS
release areas based on historical use or limited sampling data. The following is a summary of
the areas identified for additional investigation in the PA (Multi-MAC JV, 2022) and SI (Liberty
JV, 2023):

e Parcel C A-aquifer Groundwater: A-aquifer groundwater beneath Parcel C was identified
for additional investigation because of past industrial use in the parcels and PFOA, PFOS,
PFNA, and PFHxS exceeded project screening levels during the SI (Appendix G).

e Parcel C: Building 215, Fire Station, was identified as an area where further investigation is
warranted in the form based on historical activities. During the SI, PFOA and PFOS
exceeded project screening levels in soil and PFOA, PFOS, PFNA, and PFHxS exceeded
project screening levels in groundwater (Appendix G).

There are no PFAS areas identified for additional investigation in Parcel UC-2. Exposure to
groundwater and soil is restricted by ICs within the HPNS and the City and County of San
Francisco prohibits installation of domestic wells within city and county limits.

4.6.1.2 Climate Resilience

The CRA estimates that groundwater emergence due to SLR may occur within Parcel C by the
year 2065 (Appendix A). Site-specific studies are planned to verify these mapping projections
and evaluate the 2100 timeframe, at a minimum.

However, protectiveness is only affected when increased CERCLA risk attributable to climate
hazards has been identified (groundwater is likely to emerge and land use is such that receptors
could be exposed and a future unacceptable health or ecological risk has been identified, data
collected, validated, and evaluated following CERCLA risk assessment processes resulting in
unacceptable risk to receptors). Where the potential for increased vapor intrusion is identified in
other CERCLA documents, ARICs for VOCs are present, groundwater is being monitored, and
removal of VOCs is occurring either through MNA or active remediation, thus reducing the
potential for future vapor intrusion by reducing the source. Therefore, the potential for
groundwater emergence does not affect the protectiveness determination in this Five-Year
Review.

No SLR effects are anticipated for Parcel UC-2 by the year 2065.

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4.0 FORMER PARCEL C (PARCELS C AND UC-2)
4.6.1.3 Site Management Strategy

The Navy is reassessing the site management strategy for Parcels C and UC-2 based on the
following considerations:

e The Navy is planning to conduct a detailed assessment of groundwater COC concentrations
to document and eliminate COCs that have achieved response complete and to tabulate
groundwater and soil COC concentrations to ensure health and safety professionals have
the information needed to protect future construction workers.

e The Navy is also planning to optimize the monitoring frequency and locations for areas that
have not undergone any changes that could affect the concentrations of chemicals or metals
in groundwater (for example, RA or development construction).

4.7 Statement of Protectiveness

4.7.1 Parcel C
Protectiveness Determination: Protectiveness Deferred

Protectiveness Statement: A protectiveness determination cannot be made because there is
uncertainty related to the hydrogeologic communication between the A- and B-aquifers and
whether discharge of chemicals present in the B-aquifer present potential unacceptable risks to
Bay receptors. In order to make a protectiveness determination, the following action, at a
minimum, needs to be made: (1) complete investigations of the (a) Bay Mud/Sandy Lean Clay
aquitard, (b) extent of chemicals in the deep F-WBZ in RU-C4, and (c) extent of chemicals in the
B-aquifer and F-WBZ in RU-C2 and (2) use current ecological risk assessment methods and
criteria, as appropriate, to assess potential impacts to Bay receptors.

The estimated timeframe for each action is as follows:

e Complete investigations of the Bay Mud/Sandy Lean Clay aquitard, expected to occur by Fall
2026

e Complete investigation of the extent of chemicals in the deep F-WBZ in RU-C4 expected to
occur by Fall 2026

e Complete investigation of the extent of chemicals in the B-aquifer and F-WBZ in RU-C2
expected to occur by Spring 2027

e Assess potential impacts to Bay receptors, expected to occur by Fall 2026

The FFA parties will have discussions, as appropriate, prior to scoping and developing primary
documents, such as workplans, expected to occur in Fall 2025. The protectiveness
determination will be re-evaluated in the Five-Year Review addendum based on information that
becomes available after the completion of this FYR.

The RAOs for soil are met through hotspot excavation and disposal, durable covers, and ICs.
Groundwater remediation is ongoing, and, once active treatment is complete, MNA will continue
until COCs reach RGs. Until that time, |Cs control exposure to groundwater. Radiological
retesting is ongoing to confirm that levels in soil and structures are protective of human health.

4.7.2 Parcel UC-2
Protectiveness Determination: Short-term Protective

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Protectiveness Statement: The remedy at Parcel UC-2 is currently protective of human health
and the environment. To determine whether the remedy can be considered protective in the
long term, the radiological retesting work will be completed.

The RAOs for soil are met through durable covers and ICs. Groundwater monitoring is ongoing.
Radiological retesting is ongoing to confirm that levels in soil and structures are protective of
human health. Until retesting is complete, short-term protectiveness is met through Navy controls
such as access to the parcel through fencing, locked gates, and ICs (restricting intrusive work and
maintaining durable covers).

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4.0 FORMER PARCEL C (PARCELS C AND UC-2)

Table 4-1. Parcel C and UC-2 Chemicals of Concern and Remediation Goals

ag Source of
Exposure Exposure Chemical of Concern ROD Remediation Remediation Parcel
Medium Scenario Goal (2008) Goal

1,2-Dichloroethane 0.28 RBC Cc
1,4-Dichlorobenzene 2 RBC Cc
2-Methylnaphthalene 150 RBC Cc
3,3'-Dichlorobenzidine 1.6 PQL Cc
Antimony 10 RBC Cc
Aroclor-1254 0.093 RBC Cc
Aroclor-1260 0.21 RBC Cc

Arsenic 11.1 HPAL C, UC-2
Benzene 0.18 RBC Cc
Benzo(a)anthracene 0.37 RBC Cc
Benzo(a)pyrene 0.33 PQL Cc
Benzo(b)fluoranthene 0.34 RBC Cc
Benzo(k)fluoranthene 0.34 RBC Cc
bis(2-Ethylhexyl)phthalate 1.1 RBC Cc
Cadmium 3.5 RBC Cc
Chrysene 3.3 RBC Cc
Copper 160 RBC Cc
Dibenz(a,h)anthracene 0.33 PQL Cc
Residential Dieldrin 0.003 PQL Cc
gamma-BHC (Lindane) 0.0026 RBC Cc
Heptachlor epoxide 0.002 PQL Cc
Hexachlorobenzene 0.33 PQL Cc
Indeno(1,2,3-cd)pyrene 0.35 RBC Cc
Iron 58,000 HPAL Cc
Lead 155 RBC Cc

Manganese 1,431 HPAL C, UC-2
Soil (mg/kg) Mercury 2.28 HPAL Cc
Naphthalene 1.7 RBC Cc
Nickel 2,650 HPAL Cc
n-Nitroso-di-n-propylamine 0.33 PQL Cc
Organic Lead 0.5 PQL Cc
Tetrachloroethene 0.48 RBC Cc
Thallium 5 RBC Cc
Trichloroethene 2.9 RBC Cc
Vanadium 117 HPAL Cc
Vinyl chloride 0.024 RBC Cc
Zinc 370 RBC Cc
1,4-Dichlorobenzene 4.5 RBC Cc
Aroclor-1260 1 RBC Cc
Arsenic 11.1 HPAL Cc
Benzene 0.39 RBC Cc
Benzo(a)anthracene 1.8 RBC Cc
Benzo(a)pyrene 0.33 PQL Cc
Benzo(b)fluoranthene 1.8 RBC Cc
. Benzo(k)fluoranthene 1.8 RBC Cc
Industrial Chrysene 18 RBC C
Dibenz(a,h)anthracene 0.33 PQL Cc
Indeno(1,2,3-cd)pyrene 1.8 RBC Cc
Lead 800 RBC Cc
Organic Lead 0.5 PQL Cc
Tetrachloroethene 1.5 RBC Cc
Trichloroethene 6.6 RBC Cc
Vinyl chloride 0.055 RBC Cc

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Table 4-1. Parcel C and UC-2 Chemicals of Concern and Remediation Goals

og: Source of
Exposure Exposure Chemical of Concern ROD Remediation Remediation Parcel
Medium Scenario Goal (2008) Goal

Arsenic 11.1 HPAL Cc
Recreational Benzo(a)pyrene 0.33 PQL Cc
Lead 155 RBC Cc
Aroclor-1260 2.1 RBC Cc

Arsenic 11.1 HPAL C, UC-2
Benzo(a)anthracene 6.5 RBC Cc
Benzo(a)pyrene 0.65 RBC Cc
Soil (mg/kg) Benzo(b)fluoranthene 6.5 RBC Cc
Construction Benzo(k)fluoranthene 6.5 RBC Cc
Dibenz(a,h)anthracene 1.1 RBC Cc
Indeno(1,2,3-cd)pyrene 6.5 RBC Cc
Lead 800 RBC Cc

Manganese 6,900 RBC C, UC-2
Organic Lead 0.5 PQL Cc
Thallium 20 RBC Cc
1,1,2,2-Tetrachloroethane 3 RBC Cc
1,1,2-Trichloroethane 4 RBC Cc
1,1-Dichloroethane 6.5 RBC Cc
1,2,3-Trichloropropane 0.5 PQL Cc
1,2,4-Trimethylbenzene 25 RBC Cc
1,2-Dichlorobenzene 2,600 RBC Cc
1,2-Dichloroethane 2.3 RBC Cc
1,2-Dichloroethene (Total) 210 RBC Cc
1,2-Dichloropropane 1.1 RBC Cc
1,3,5-Trimethylbenzene 19 RBC Cc
1,4-Dichlorobenzene 2.1 RBC Cc
Benzene 0.5 PQL C
Bromodichloromethane 1 RBC Cc

Residential - Vapor Carbon Tetrachloride 0.5 PQL C, UC-2
Intrusion Chlorobenzene 390 RBC Cc
Chloroethane 6.5 RBC Cc

Chloroform 0.7 RBC C, UC-2
cis-1,2-Dichloroethene 210 RBC Cc
. cis-1,3-Dichloropropene 0.5 PQL Cc
MeL) Dibromochloromethane 2.6 RBC Cc
lsopropylbenzene 7.8 RBC Cc
Methylene Chloride 27 RBC Cc
Naphthalene 3.6 RBC Cc
Tetrachloroethene 0.54 RBC Cc
trans-1,2-Dichloroethene 180 RBC Cc
trans-1 ,3-Dichloropropene 0.5 PQL Cc

Trichloroethene 2.9 RBC C, UC-2
Trichlorofluoromethane 180 RBC Cc
Vinyl! Chloride 0.5 PQL Cc
1,1,2,2-Tetrachloroethane 5.1 RBC Cc
1,1,2-Trichloroethane 6.7 RBC Cc
1,1-Dichloroethane 11 RBC Cc
1,2,3-Trichloropropane 0.5 PQL Cc
Industrial- Vapor 1,2,4-Trimethylbenzene 25 RBC Cc
Intrusion 1,2-Dichloroethane 3.9 RBC Cc
1,2-Dichloroethene (Total) 210 RBC Cc
1,2-Dichloropropane 1.8 RBC Cc
1,3,5-Trimethylbenzene 19 RBC Cc
1,4-Dichlorobenzene 3.6 RBC Cc

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4.0 FORMER PARCEL C (PARCELS C AND UC-2)

Table 4-1. Parcel C and UC-2 Chemicals of Concern and Remediation Goals

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og: Source of
epoeure Seu Chemical of Concern e Goat 008)" Remediation Parcel
Goal

Benzene 0.63 RBC Cc
Bromodichloromethane 1.7 RBC Cc
Carbon Tetrachloride 0.5 PQL Cc
Chlorobenzene 390 RBC Cc
Chloroform 1.2 RBC Cc
cis-1,2-Dichloroethene 210 RBC Cc
. cis-1,3-Dichloropropene 0.5 PQL Cc
industrat Vapor lsopropylbenzene 7.8 RBC Cc
Methylene Chloride 46 RBC Cc
Naphthalene 6 RBC Cc
Tetrachloroethene 0.9 RBC Cc
trans-1,3-Dichloropropene 0.5 PQL Cc
Trichloroethene 4.8 RBC Cc
Trichlorofluoromethane 180 RBC Cc
Vinyl Chloride 0.5 PQL Cc
1,1,2-Trichloroethane 40 RBC Cc
1,2,3-Trichloropropane 0.6 RBC Cc
1,2,4-Trichlorobenzene 41 RBC Cc
1,2,4-Trimethylbenzene 53 RBC Cc
1,2-Dichlorobenzene 1700 RBC Cc
1,2-Dichloroethane 22 RBC Cc
1,2-Dichloroethene (Total) 270 RBC Cc
A-Aquifer 1,2-Dichloropropane 30 RBC Cc
(ug/L) 1,4-Dichlorobenzene 52 RBC Cc
Benzene 16 RBC Cc
Bromodichloromethane 19 RBC Cc

Carbon Tetrachloride 15 RBC C, UC-2
Chlorobenzene 450 RBC Cc
. Chloroform 26 RBC Cc
Construction cis-1,2-Dichloroethene 270 RBC Cc
Naphthalene 16 RBC Cc
Tetrachloroethene 18 RBC Cc
Trichloroethene 290 RBC Cc
Vinyl Chloride 5.4 RBC Cc
2,4-Dimethylphenol 9800 RBC Cc
2,4-Dinitrotoluene 180 RBC Cc
3,4-Dimethylphenol 700 RBC Cc
4-Methylphenol 3500 RBC Cc
Benzo(a)anthracene 0.67 RBC Cc
Benzo(a)pyrene 0.05 RBC Cc
Benzo(b)fluoranthene 0.45 RBC Cc
Benzo(k)fluoranthene 0.45 RBC Cc
Chrysene 6.7 RBC Cc
Pentachlorophenol 50 PQL Cc
Protection of the Chromium VI 50 SWC C
Environment ° Zinc 81 SWC C

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Table 4-1. Parcel C and UC-2 Chemicals of Concern and Remediation Goals

og: Source of
Exposure Exposure Chemical of Concern ROD Remediation Remediation Parcel
Medium Scenario Goal (2008) Goal
Chromium VI 109 MCL Cc
Antimony 6 MCL Cc
Arsenic 10 MCL Cc
Iron 10,950 RBC Cc
Manganese 8,140 HPAL Cc
Thallium 2 MCL Cc
1,1-Dichloroethane 5 MCL Cc
. . 1,2,4-Trichlorobenzene 70 MCL Cc
eee 1,2,4-Trimethylbenzene 12 RBC C
1,2-Dichlorobenzene 600 MCL Cc
1,2-Dichloroethane 0.5 MCL Cc
1,2-Dichloroethene (Total) 6 MCL Cc
1,2-Dichloropropane 5 MCL Cc
1,3,5-Trimethylbenzene 12 RBC Cc
1,3-Dichlorobenzene 183 MCL Cc
1,4-Dichlorobenzene 5 MCL Cc
Benzene 1 MCL Cc
Bromodichloromethane 80 MCL Cc
Chlorobenzene 70 MCL Cc
Chloroethane 4.6 MCL Cc
Chloroform 80 MCL Cc
B - Aquifer cis-1,2-Dichloroethene 6 MCL Cc
(RU-C5 Methylene Chloride 5 MCL Cc
Plume Only) Naphthalene 0.093 RBC Cc
(ug/L) Tetrachloroethene 5 MCL Cc
trans-1,2-Dichloroethene 10 MCL Cc
Trichloroethene 5 MCL Cc
Trichlorofluoromethane 1,288 RBC Cc
Vinyl Chloride 0.5 MCL Cc
2,4-Dimethylphenol 730 MCL Cc
Residential - 2,4-Dinitrotoluene 10 MCL Cc
Domestic Use 2-Methylnaphthalene 24 MCL Cc
2-Methylphenol 1,825 MCL Cc
4-Methylphenol 182 MCL Cc
Benzo(a)anthracene 0.2 MCL Cc
Benzo(a)pyrene 0.2 MCL Cc
Bis(2-ethylhexyl)phthalate 4 MCL Cc
Carbazole 10 MCL Cc
Chrysene 0.2 MCL Cc
Dibenzofuran 12 MCL Cc
Hexachloroethane 1.7 MCL Cc
Pentachlorophenol 1 MCL Cc
Aldrin 0.05 MCL Cc
alpha-BHC 1 MCL Cc
Dieldrin 0.02 MCL Cc
Heptachlor Epoxide 0.01 MCL Cc

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Table 4-1. Parcel C and UC-2 Chemicals of Concern and Remediation Goals

ag: Source of
ROD R diat
Exposure Exposure Chemical of Concern eme rayon Remediation Parcel
Medium Scenario Goal (2008)
Goal
Reference:

Navy. 2014. Explanation of Significant Differences to the Final Record of Decision for Parcel C, Hunters Point Shipyard, San Francisco,
California. Final. October.

= In cooperation with the FFA signatories, the Navy developed a revised tiered approach that reduces excavation of soil that
will not pose an unacceptable risk to human health and the environment once the remedy is fully implemented. Application
of tiered action levels for the excavation portion of the selected soil remedy resulted in changes to the specific numerical
RGs identified in the ROD as summarized in Table 4-1 of the ESD (Navy, 2014).

> Protection of the environment protects or minimizes discharge that would be above the specified remediation goals;
specific trigger levels are developed for each plume. Groundwater remediation goals for chromium VI and zinc are at the
point of discharge to the bay.

ug/L = microgram(s) per liter

BHC = benzene hexachloride

ESD = Explanation of Significant Differences

FFA = Federal Facilities Agreement

HPAL = Hunters Point Ambient Level

MCL = maximum contaminant level

mg/kg = milligram(s) per liter

Navy = Department of the Navy

PQL = practical quantitation limit

RBC = risk-based concentration

RG = remediation goal

ROD = Record of Decision

SWC = Surface Water Criteria

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Table 4-2. Parcels C and UC-2 Remediation Goals for Radionuclides

2
Radionuclide __Surfaces (apmrtoocm ) - Soil® (pCi/g) | Water® (pCi/L) | Parcel
Equipment, Waste Structures

Cesium-137 5,000 5,000 0.113 119 C, UG-2
Cobalt-60 5,000 5,000 0.0361 100 Cc
Plutonium-239 100 100 2.59 15 C
Radium-226 100 100 14 5 C, UC-2
Strontium-90 1,000 1,000 0.331 8 C, UG-2
Thorium-232 1,000 37 1.69 15 C

Source of Goals:

Department of the Navy (Navy). 2006. Base-wide Radiological Removal Action, Action Memorandum — Revision 2006, Hunters Point
Shipyard, San Francisco, California . Final. April 21.

United States Environmental Protection Agency (USEPA). 2000. Radionuclides Notice of Data Availability Technical Support Document .
Targeting and Analysis Branch, Standards and Risk Management Division, Office of Groundwater and Drinking Water. March.

* Based on “AEC Regulatory Guide 1.86” (1974). Goals for removable surface activity are 20 percent of these values.

® Goals are based on 25 millirem per year (USEPA does not believe this NRC regulation is protective of human health and the
environment, and the HPNS cleanup goals are more protective. This regulation is an ARAR only for radiologically impacted sites
that are undergoing TCRAs and any additional remedial action required for those sites. It is not an ARAR for radiologically
impacted portions of IR Sites 7 and 18 that will be transferred with engineering and institutional controls for radiological
contaminants.)

* USEPA PRGs for two future use scenarios.

4 Goal is 1 pCi/g above background per agreement with USEPA.

* Release criteria for water were derived from Radionuclides Notice of Data Availability Technical Document (USEPA, 2000)
by comparing the limits from two criteria and using the most conservative value.

AEC = Atomic Energy Commission

ARAR = applicable or relevant and appropriate requirement

cm? = square centimeter(s)

dpm = disintegration(s) per minute

HPNS = Hunters Point Naval Shipyard

NRC = Nuclear Regulatory Commission

pCi/g = picocurie(s) per gram

pCi/L = picocurie(s) per liter

PRG = preliminary remediation goal

TCRA = time-critical removal action

USEPA = United States Environmenial Protection Agency

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